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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,          )
                                    )
           Plaintiff,               )
                                    )            CR No. 22-15
                                    )            Washington, D.C.
        vs.                         )            November 7, 2022
                                    )            9:30 a.m.
 ELMER STEWART RHODES III, ET AL., )
                                    )            Day 25
           Defendants.              )            Morning Session
 ___________________________________)

               TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                BEFORE THE HONORABLE AMIT P. MEHTA
                   UNITED STATES DISTRICT JUDGE




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 Proceedings recorded by mechanical stenography; transcript
 produced by computer-aided transcription
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1                             P R O C E E D I N G S

2                 COURTROOM DEPUTY:     All rise.

3                 All rise.    The Court is now in session.         The

4     Honorable Amit P. Mehta now presiding.

5                 THE COURT:    Please be seated, everyone.

6                 COURTROOM DEPUTY:     Good morning, Your Honor.

7                 This is Criminal Case No. 22-15, the United States

8     of America versus Defendant No. 1, Elmer Stewart Rhodes III;

9     Defendant 2, Kelly Meggs; Defendant 3, Kenneth Harrelson;

10    Defendant 4, Jessica Watkins; and Defendant 10, Thomas

11    Edward Caldwell.

12                Kathryn Rakoczy, Jeffrey Nestler, Alexandra

13    Hughes, Troy Edwards, and Louis Manzo for the government.

14                Phillip Linder, James Lee Bright, and Edward

15    Tarpley for Defendant Rhodes.

16                Stanley Woodward and Juli Haller for Defendant

17    Meggs.

18                Bradford Geyer for Defendant Harrelson.

19                Jonathan Crisp for Defendant Watkins.

20                And David Fischer for Defendant Caldwell.

21                All named defendants are present in the courtroom

22    for these proceedings.

23                THE COURT:    Okay.   Good morning, everyone.         Good

24    to be with you all again.      I hope anybody had a nice

25    weekend.
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1                 Anything we need to discuss before we resume

2     Mr. Rhodes' testimony.

3                 MR. NESTLER:    Just one logistical matter, Your

4     Honor, is we have asked each defense counsel to provide us

5     with their witness list of who they anticipate calling in

6     their case-in-chief.      Counsel for Rhodes and Watkins have

7     done so, the other counsel have not yet done so.             We did

8     want make it clear for the record that we needed to have

9     that as soon as possible considering that Rhodes' counsel

10    anticipates resting in the next couple of days, so we need

11    to know who they intend to call in their case.

12                THE COURT:    I'll ask counsel to do that.         And

13    obviously there's a requirement of 24 hours in advance, but

14    I'll ask everybody to please make those disclosures

15    promptly.

16                Mr. Woodward.

17                MR. WOODWARD:    The government produced some

18    additional evidence on Friday evening.          We think that we'll

19    have time to take it up at the 11:30 break.             It concerns

20    Mr. Rhodes, I just want to flag that for the Court that we'd

21    like to address that with you.

22                THE COURT:    Okay.

23                All right.    Anything else?     All right.      Let's

24    bring our jurors in.

25                Mr. Woodward, do you want to talk about that
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1     evidence until we hear the door knock?

2                 MR. WOODWARD:     Your Honor will recall that we

3     filed a motion to compel seeking any records that the

4     government, including the FBI, had, concerning the

5     Oath Keepers.

6                 And Your Honor will recall that the Court denied

7     that motion.    And on Friday afternoon, evening, the

8     government disclosed to us, maybe Saturday, even, certain

9     FBI internal communications about their monitoring of the

10    Oath Keepers and Stewart Rhodes in particular.

11                It is inflammatory with respect to Mr. Rhodes.

12    I can't speak for his counsel, but certainly the fact it's

13    being disclosed after he's taken the stand is prejudicial to

14    us because of our inability to undo the fact that he's now

15    testifying and that this could potentially be used against

16    him.

17                Your Honor, throughout this trial, has said if

18    evidence is disclosed to you late, let you know and that's

19    what we're doing.       We don't think the government should be

20    able to use these internal FBI communications or the

21    information contained within them, which is just now being

22    disclosed to us for the first time, in their

23    cross-examination of Mr. Rhodes.

24                We'd also like to provide them to Your Honor

25    because this is exactly the type of material we were seeking
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1      when we asked the Court to order the disclosure of any

2      internal communications about the Oath Keepers.

3                 It's clear that the FBI was monitoring the

4      Oath Keepers going all the way back through 2020 and beyond.

5      And to the extent that there's exculpatory material in there

6      or material or information that would be material to our

7      defense, we think the government should have to turn that

8      over.

9                 This case is huge, their investigation of the

10     Oath Keepers is huge, and so we would renew -- I can put it

11     in writing, I just couldn't do it over the weekend because

12     it takes me longer to put things in writing these days.                 But

13     that's sort of the scope of it.

14                We can ask the government to forward their

15     disclosure to the Court and we can look at it, as I

16     previewed, during the break.      We don't think Mr. Linder is

17     going to finish his examination prior to the first break

18     today.

19                THE COURT:    Okay.   All right.      We'll hear from the

20     government about it after we get a chance.

21                Let's bring them in.

22                COURTROOM DEPUTY:     Jury panel.

23                (Jury entered the courtroom.)

24                THE COURT:    Okay.   Please be seated, everyone.

25                And, ladies and gentlemen, welcome back and
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1      good morning to all of you, I hope everybody had a nice

2      weekend, it's good to see you again.

3                 Maybe this is the one day it will actually be

4      helpful to have a cold courtroom.         It's warm outside.

5                 So with that, why don't we have Mr. Rhodes come on

6      back up and return to the stand.        We'll continue with his

7      examination with Mr. Linder.

8                                     - - -

9      ELMER STEWART RHODES, WITNESS FOR THE DEFENDANT, HAVING BEEN

10     PREVIOUSLY SWORN, RESUMED THE STAND AND TESTIFIED FURTHER AS

11     FOLLOWS:

12                                    - - -

13     BY MR. LINDER:

14          Q     Mr. Rhodes, how are you this morning?

15          A     Good.   How are you doing?

16          Q     Good.   Just for the record, you understand you're

17     still under oath?

18          A     Yes.

19          Q     Okay.

20                And did either me or anyone from the defense team

21     have any contact with you after you left the courtroom and

22     before just now?

23          A     No.

24          Q     Okay.   Thank you.

25                When we left off on Friday, we were kind of in
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1      November of 2020, kind of talking about the

2      Million MAGA March.

3            A    Right.

4            Q    Just to kind of recap, I mean, 2020, as you had

5      said, and correct me if I am wrong, the political rhetoric

6      was getting kind of bad on both sides?         Would you agree with

7      me?

8            A    Well, that also the violence on the streets was

9      pretty bad.

10           Q    Right.

11                So you guys were going to some of these events so

12     let's talk about the Million MAGA rally.

13                You started texting after the election or Signal

14     chatting, whatever, November 3rd, kind of through

15     November 14th, and you even had that GoToMeeting deal that

16     one of the witnesses testified to had a video recording from

17     November 9th.    Do you remember that?

18           A    Well, the first thing that happened on election

19     night is Kellye SoRelle was in Detroit as an observer for

20     the Republican Party with lawyers for Trump, and then she

21     witnessed what she believed was possible fraud and blew the

22     whistle on it and then they started getting deaths threats.

23                So I sent Whip and -- Michael Greene and also

24     Mr. Morelock to Detroit to go protect her.             And they

25     basically stayed with her as a PSD from that time on for the
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1      next two months.

2           Q     PSD, personal security detail?

3           A     Yes, personal security detail.

4           Q     So they would -- so Whip or Michael Greene or

5      others would travel with her to and from D.C. to some of

6      these rallies and --

7           A     Well, yes.    Sorry.

8                 She was doing investigations in Michigan and they

9      were with her in Michigan and then she was going to other

10     states.

11          Q     Okay.

12          A     She was doing a lot of legal activism.

13          Q     Now, granted, her focus was on some of the -- you

14     talked about maybe fraud on the ground.

15          A     Right.

16          Q     Your concern is, you told the jurors, and correct

17     me if I am wrong, was you believed, under Article II, the

18     election was invalid because of the way the states had

19     changed their voting laws?

20          A     Correct.

21          Q     Without going through the legislatures?

22          A     That's correct.

23                Just letting you know that that's what we were

24     doing as far as operations so they were both traveling with

25     had her.
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1                 And then when she came to D.C., or to Atlanta, I

2      always assigned someone to go watch her.

3           Q     So you have this GoToMeeting on November 9th, and

4      you have several chats leading up to November 14th.             And

5      what was your purpose in all of that?

6           A     Well, the November 9th GoToMeeting and those chats

7      was to plan for the November 14th rally in D.C.

8           Q     It wasn't for January 6th, was it?

9           A     Pardon me?

10          Q     It wasn't for January 6th, was it?

11          A     No, we weren't even thinking about January 6th.

12          Q     January 6th hadn't been planned yet?

13          A     There was no events planned on January 6th until

14     later in December.

15          Q     So let's talk about the Million MAGA rally.

16                So you guys planned to go to that a few days in

17     advance and you sent out that call to action or that open

18     letter, correct?

19          A     That's correct, yeah, right.

20          Q     So when you get that and decide that you're going

21     to go, did you put someone in charge of?

22          A     Yes, for that one, it was John Shirley, that's the

23     retired Houston PD detective, and current constable in

24     Texas.   He's a current law enforcement officer.           He was

25     number one for the November Million MAGA security detail.
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1           Q      When you say you put someone in charge, what is he

2      to do?   Is he the one that you said last week contacted the

3      local law enforcement here?

4           A      Well, his job, so I put him in No. 1; No. 2,

5      Michael Greene, both of them were former police officers.

6                  I always put cops in charge, and the number one's

7      responsibility is to coordinate with the event organizers,

8      figure out who they're protecting where, and then to reach

9      out to the police, let them know, here's where we're going

10     to be, what we're going to be doing, here's how to identify

11     us, here's the numbers for our leadership, let me get your

12     leadership's contact info so we have no misunderstanding and

13     smooth coordination on the ground.

14          Q      And so as we're approaching November 14th and

15     you're planning kind of boots on the ground, a lot of your

16     rhetoric, your Signal chats and your GoToMeeting talk about

17     the Insurrection Act and use of the militia; is that

18     correct?

19          A      Well, I wear two hats.     I'm always doing speeches,

20     and I'm always advocating for what I believe is the correct

21     course constitutionally.

22          Q      Okay.

23          A      That's separate from what we do on the ground for

24     security.

25                 So security missions, usually there's no crossover
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1      other than the fact I get up and give a speech.

2                 That's why I delegate that to -- I didn't mean to

3      cut you off.    That's why I delegate that to two experienced

4      prior law enforcement guys to handle all the security so

5      I can focus on speaking and whatever I've got to do to

6      network with other people that are planning events.

7           Q     And just briefly, because the jury has heard a lot

8      about it, what is, in your mind, what is the

9      Insurrection Act mean, or how did you believe that it could

10     be used in this situation?

11          A     Well, it's been around since 1807 in different

12     forms.   And what it does is it gives congressional -- it's

13     the congressional fleshing out of the power listed in

14     Article I, Section 8 where it says Congress has the power to

15     provide for calling forth the militia to execute the laws of

16     the union, suppress insurrections or apparent invasions.

17                Congress has done with that with statutes.

18     I believe the first one was 1806, to give the clear

19     congressional authorization for how they want the militia to

20     be called forth.

21          Q     So your brief is it allows President to call forth

22     the militia to do certain things?

23          A     That's what it says.

24                MS. RAKOCZY:     Objection; calls for legal

25     speculation.
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1                 THE COURT:    It's overruled in terms of how the

2      question was framed.

3      BY MR. LINDER:

4           Q     That was your belief?

5           A     Sure.   It's also what the text says, too.

6                 MS. RAKOCZY:     Objection to how it's framed.

7                 THE COURT:    That is sustained.

8      BY MR. LINDER:

9           Q     So what is your belief, when this talks about the

10     militia, calling it forth the militia, what is your

11     understanding or your belief on what the militia is?

12          A     Well, as I stated, I believe it was my open letter

13     in December, either December, the December 12th one or

14     December 23rd, I actually brought the text of the

15     Insurrection Act out and the text of the militia clause too.

16          Q     Yeah.

17          A     So my understanding is the militia is, of course,

18     in the founders' day, everyone was in the militia.             So

19     it would be like if everyone was in the National Guard.

20     There was no separation between the National Guard and the

21     people.   You were all in it.

22                But what they started doing at the turn of the

23     century, the last century, is that they bifurcated that.

24     And they had the organized militia and the unorganized

25     militia by federal statute.      And the organized militia is a
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1      National Guard or the Naval Reserves, so that's still the

2      organized militia.

3                  And the unorganized militia is everybody else

4      who's in the militia who's not in the National Guard and not

5      in the Naval Reserves.      That just the rest of us.        All

6      able-bodied males from 17 to 45; I believe it's all females

7      who are part of the National Guard or in the organized

8      militia.

9                  But as far as the unorganized militia, it's males

10     17 to 45.    I believe that's correct.

11          Q      So you believed -- was it your belief then that

12     the then-sitting President, any President at the time, that

13     the then-sitting President Trump had the legal authority, if

14     he so chose, to invoke the Insurrection Act and call forth

15     the militia to try to solve this election issue?

16          A      Well, I believe that he has the power to -- as it

17     says in the Insurrection Act, whenever there is a failure of

18     the state government to secure liberty, a right guaranteed

19     by the Constitution, including equal protection of the laws,

20     that when there's failure of that to happen, you have rights

21     being violated -- and voting, of course, is a fundamental

22     right -- then the President of the United States can use the

23     calling forth the militia to secure those rights.

24                 And Presidents have done that throughout history.

25     Eisenhower did it to desegregate the schools.
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1                 MS. RAKOCZY:     Objection; non-responsive.

2                 THE WITNESS:     Okay.     No problem.

3      BY MR. LINDER:

4            Q    So it's been done throughout history, correct --

5            A    Yes.

6            Q    -- many times?

7            A    Many times.

8            Q    Okay.

9                 Now, the government put forth scores of chats

10     between you and others mostly from you to others, talking

11     about, and plus this GoToMeeting, plus the open letters, all

12     talking about having the President invoke the

13     Insurrection Act and call forth the militia.

14                Would you agree with me?

15           A    Yes.

16           Q    All through kind of November 3rd, all through kind

17     of mid-January?

18           A    Right, yes, that's correct.

19           Q    And is it your understanding that you're asking

20     the President to do something you thought he could legally

21     to?

22           A    Absolutely.

23           Q    Okay.

24                And so let's get to the Million MAGA March.

25                So you put Whip and, you said, Siekerman in
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1      charge?

2           A      No.    It was John Shirley --

3           Q      John Shirley?

4           A      -- was number 1.

5                  And Michael Greene was number 2, or Whip.            Right.

6           Q      I believe last week you talked about this is where

7      you had a mobile QRF in a van?

8           A      That's correct.

9           Q      And did you or Kelly or any one of your close

10     associates have speaking engagements at that event?

11          A      You mean Kellye SoRelle?

12          Q      Yes.

13          A      For November -- I don't believe so.

14          Q      Okay.

15          A      Yeah.

16          Q      So what was y'all's purpose to be at that march?

17          A      Okay.   So two main focuses of effort, two main

18     missions or teams.

19                 One time was the one that was led by John Shirley

20     and Whip.    It was the primary mission to escort the four

21     ladies who were speakers at Freedom Plaza.             They spoke

22     there, protect them while they were doing that.             And then

23     escort them by foot all the way to the Supreme Court for

24     another speaking engagement.      So there were four speakers.

25     And they were afraid to come into D.C. without protection.
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1           Q     Okay.

2           A     So that was the primary mission.

3                 I believe that was John Shirley, Whip, possibly

4      Jeff Morelock.     Josh James was in that also.         And they --

5      what they wound up doing is kind of piggy-backing on

6      Alex Jones' security team.      And he was there with his big

7      security team.     And they just piggybacked.          The ladies

8      walked behind Alex Jones, and our guys were towards the rear

9      of that formation and walked with them.

10          Q     Now, when you go to --

11          A     So that was the first mission.         There was another

12     one after that.

13          Q     And have you spoken or been at events in D.C.

14     before that November 14th Million MAGA Rally?

15          A     Oh yeah.    So we were there, like, six other times

16     before that.

17          Q     When you say "six other times," are those at

18     official events or rallies?

19          A     Yes, right.

20          Q     And when Oath Keepers go to these events or

21     rallies or are requested to be their security, do you guys

22     apply for the permits for these activities?

23          A     No.   The organizer does.

24          Q     Okay.

25                So somebody contacts you -- and correct me if I am
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1      wrong.   Does an organizer contact you and say, Hey, we need

2      your services?

3           A     Yeah, right.

4           Q     And do they tell you -- how does that work when

5      they get in contact with you?         What do they tell you?

6           A     They just contact us and say, Hey, do you mind

7      helping us out?

8                 Like after the first one after the Trump was

9      elected for the ladies that were afraid to go to the

10     DeploraBall by themselves, and so we did an escort for them.

11          Q     Okay.

12                And is it your understanding or your belief that

13     when they get these events permitted, they're set for

14     certain areas around the Capitol?

15          A     Well, depends on what we're doing.           For an escort

16     for the DeploraBall, it's just to the DeploraBall and back.

17     But for an event where we're actually protecting the event

18     itself, then yes, we'll get a permit.          Like, one was right

19     outside the White House.      I think it was Lafayette Park.

20     And that was an immigration rally.         So they were doing a

21     rally there.

22                Another one was an event where their speakers were

23     supposed to take part in a bigger event.           That bigger event

24     turned out to have been organized by, like, actual white

25     supremacists.    So they withdrew from it.         That bigger event
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1      was at the Lincoln Memorial.      And then they held a separate

2      event kind of as a protest against it, their own event, in

3      Lafayette Park.      So we protected that event.

4           Q      So these events that you guys go to, it's your

5      understanding when these event organizers contact you,

6      they've got a permanent event -- a permitted event and a

7      location?

8           A      Yes.

9           Q      And that's all discussed with you guys, and that's

10     what you do?

11          A      Right.

12          Q      You escort people to and from that?

13          A      We protect the event.     We protect the speakers.

14     And then we also, the audience and then escort the audience

15     afterwards back to their hotels or their Metro stop or

16     whatever, because Antifa likes to wait until the event is

17     over and then attack people as they're going back to their

18     hotel or Metro stop.

19          Q      Did any Oath Keepers, to your knowledge, violate

20     any of the laws of D.C. in regards to firearms that day?

21          A      Never.

22                 MS. RAKOCZY:    Objection; calls for legal

23     speculation, conclusion.

24                 THE COURT:    Just reframe it, if you would, please.

25
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1      BY MR. LINDER:

2           Q      Was any Oath Keeper charged with a crime -- other

3      than this conspiracy we're dealing with, anybody charged

4      with a crime regarding firearms laws for the events of

5      that day?

6           A      For which day is that?

7           Q      November 14th.

8           A      Oh, no, not at all.       And no other day before

9      either ever.

10          Q      Are you aware of any Oath Keepers having to use

11     force against anybody out there that day?

12          A      No.

13          Q      Okay.

14                 So let's move on kind of to December 12th.

15                 So on December 12th, did you have events in D.C.

16     and Florida or have Oath Keepers at events at two different

17     places?

18          A      Oh, so back real quick, though, in the November

19     one, the second mission was the general escort mission, and

20     so that's the one I was helping to spearhead.            That's the

21     one Mr. Zimmerman testified to where he claimed he didn't

22     know what it was for.     That was the only to be in there, was

23     to escort people, do the general escort, run the people back

24     to their hotels and Metro stops.

25          Q      Who was with you in your detail on that?
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1           A     Doug Smith and guys from North Carolina and also

2      Jessica and Montana.

3           Q     Okay.

4                 So all these --

5           A     And I believe also Mr. Crowl, too.

6           Q     Okay.    So those went off kind of uneventful;

7      everything got done?

8           A     That's the one where Doug Smith pulled them back

9      out of D.C. and then lost face and decided to split because

10     he didn't do the mission.      And, you know, a little notice,

11     like, Look, guys, you just didn't do what you were supposed

12     to be doing last night.

13                So we had some guys angry at him about that.             They

14     didn't get to do what they came in to do.

15          Q     Was -- is Doug in the North Carolina group?

16          A     Yes.    Well, he was the North Carolina leader.

17          Q     And was there eventually a split between

18     Oath Keepers national and North Carolina?

19          A     After that, right, as Mr. Zimmerman testified to,

20     yeah.

21          Q     So after November 14th and leading up to

22     December 12th, you have several more Signal chats, several

23     more communications.

24          A     Uh-huh.

25          Q     Is it your testimony that's all about the same
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1      thing, where you're asking Trump to do the same thing?

2           A      Oh, yeah.    My answer is a broken record.          I was

3      making the same argument that Trump -- this is what he has

4      to do.   My focus on was on him the entire time.

5           Q      Okay.

6           A      Yeah.

7           Q      Now, did you attend events in D.C. on

8      December 12th?

9           A      Yes, we did.

10          Q      And what was that call?

11          A      I believe that was the Jericho March, right.

12          Q      Okay.

13                 And who came to that with you?         Or which

14     Oath Keepers were present that day?

15          A      That one was -- Don Siekerman was in charge of

16     that one.

17          Q      Okay.

18          A      And then I believe Whip was number two for that.

19          Q      And who all -- do you know who all, which all

20     Oath Keepers were here with you on that one in D.C.?

21          A      Well, I know Kelly Meggs and the Florida team,

22     they had an event in direct conflict.          They had an event in

23     Miami for Roger Stone they were protecting.

24          Q      Right.

25          A      So none of the Florida guys were up here for
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1      December.

2             Q    Okay.    But you had other guys who were here with

3      you?

4             A    Oh, sure.    Yeah.   We had people from all over

5      the country.

6             Q    And at the Jericho Rally, were you or

7      Kellye SoRelle or any of your other Oath Keepers or close

8      friends scheduled to speak?

9             A    Yes.    I spoke down on the Mall, the big rally on

10     the Mall.

11            Q    And was -- and do you remember when you spoke,

12     middle of the day or --

13            A    In the afternoon.

14                 Well, it was after -- what we wound up doing that

15     day what we escorted -- part of it was escorting to

16     General Flynn from the Supreme Court and with that, he

17     partnered up with the Praetorian Guard, first member

18     Praetorian Guard, where the group primarily is in charge of

19     his detail.    But we assisted them.       Like, Whip went along

20     with them.    And I believe -- not sure if Jeff Morelock was

21     here for that.      I'm not sure.

22                 But we wound up escorting along with them,

23     bringing General Flynn down to the Mall; and then when we

24     get down there, that's where I also spoke.

25                 And then our guys just went out and, like, watched
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1      over the audience in general at that event on the perimeter.

2             Q    How many Oath Keepers do you think you had present

3      with you on D.C. on that day?

4             A    On that day?    Maybe 15 or 20.

5             Q    Okay.

6             A    Right.

7             Q    And did y'all have a QRF outside of D.C. that day?

8             A    We announced again that we would, but we did not

9      leave anybody, there was no one in a dedicated vehicle and

10     there was no one left in the hotel.        We left our guns in the

11     hotel.

12                 The one thing about us is that, I've been carrying

13     a gun my entire adult life, with zero use-of-force

14     incidents, by the way.      Whenever I travel, I always have a

15     gun.    So when we were coming into D.C., you're going to want

16     to be leaving your gun in the hotel room somewhere.

17            Q    In fact, you had a gun on you in May of 2021 when

18     you met with Agent Palian in Lubbock, Texas?

19            A    Of course.

20            Q    He asked you about it, you talked about it, no big

21     deal?

22            A    Correct.

23            Q    So no QRF, no designated QRF, mobile or otherwise?

24            A    Well, we announced it.

25                 And this goes back to kind of like the mind F or
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1      SIOP against Antifa.     Make them worry about us having a

2      dedicated team outside, but by that point, in contrast, in

3      November, when I was very much concerned that the

4      White House would be attacked, when a month later it was

5      much less likely it seemed that that was going to happen.

6      So that's what we did.      I didn't want to spare the manpower

7      to leave guys outside of D.C. just sitting around doing

8      nothing so we went ahead and just left our guns in our

9      hotels rooms and went to D.C. and did what was supposed to

10     be done.

11          Q     Do you have any knowledge of Oath Keepers using

12     force against anybody during that event?

13          A     Never.

14          Q     Any Oath Keeper charged -- other than with this

15     offense, any Oath Keeper charged with a firearms violation

16     or anything for that day?

17          A     No, not at all.

18          Q     Okay.

19          A     I'm sorry, but no Oath Keepers has ever been

20     charged for a firearms violation or use of force for any

21     security operation ever done.

22          Q     Since the founding in 2009?

23          A     Since 2009, that's right.

24          Q     Now, on the same day, you said there was a Roger

25     Stone event in Miami?
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1           A     That's correct.

2           Q     And I think Dolan testified about that or maybe

3      Mike Adams, they were present at that one, do you remember

4      that earlier in the trial?

5           A     Yes.

6           Q     So who planned that event?        Did you plan that?

7           A     That one was Jeff Morelock, that's how I know he

8      was not in D.C.    He was running -- Jeff Morelock is the one

9      that's an ex-law enforcement officer.         He deployed to Kosovo

10     and helped with peace keeping for U.N. and he was an

11     executive protection specialist, like Whip.            They're the two

12     most well-trained Oath Keepers for that stuff.

13                So he was in charge of that detail for Roger Stone

14     in Miami on December 12th.

15          Q     And when you've got multiple events on a day like

16     that, do you pass that off to someone like Whip or Morelock

17     and say, hey, you take care of Florida and I'm going to do

18     D.C.?

19          A     Well, of course.     Like I said, I pick a good

20     leader and I let them run it.

21          Q     Okay.

22          A     So in D.C., that one was Don Siekerman and Whip.

23          Q     Okay.

24          A     And then down in Florida, it was Jeff Morelock.

25          Q     Okay.
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1                 So do you get down into the nitty-gritty with

2      micromanaging some of those groups?

3           A     No, of course not, that would be ridiculous.

4                 I practice what's called leadership by exception.

5      So I try to pick good people to put them in charge and then

6      let them deal with the situation on the ground and I step in

7      only if I see a problem.

8           Q     Okay.

9           A     Right.

10          Q     And you may have answered this for me but

11     I don't recall.     Was Kellye SoRelle with you for the

12     December 12th event also?

13          A     Yes, she was.

14          Q     Okay.

15                So Whip was here with you and Kellye SoRelle was

16     here with you?

17          A     That's correct.

18                And we also had the Stop the Steal rally in

19     Atlanta in November.     You missed that one.

20          Q     Do you remember which day that was in November?

21          A     I think it was the 21st or 22nd of November.

22          Q     So it was after the Million MAGA March?

23          A     That's correct.

24          Q     So you were at the Atlanta event?

25          A     Yes, I was.
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1           Q     And was that on a Saturday or do you remember what

2      day it was?

3           A     I think it was a Saturday, right.

4           Q     And who was at that event?

5           A     Don Siekerman and also Whip, Michael Greene.

6           Q     Okay.

7                 And you were there?

8           A     Yes.

9           Q     And was Kellye SoRelle also there with

10     Michael Greene?

11          A     Yes, she was.

12          Q     Okay.

13                Did you speak at that event?

14          A     No, I did not.

15          Q     Did Kellye SoRelle speak at that event?

16          A     No, she did not.

17          Q     Did any other Oath Keepers or friends of yours

18     speak at that event?

19          A     No.

20          Q     What was the purpose of the Atlanta --

21          A     That was Ali Alexander's Stop the Steal rally

22     Atlanta, so we were there to protect him.

23                And, interestingly, so the whole thing about

24     walking with your hands on your shoulders, we did that to

25     get him off the stage in Atlanta, just a PSD formation.                 So
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1      it's not a military formation.

2           Q     When you say you're down there to protect Ali

3      Alexander, does his team contact you, say, hey, guys, I'm

4      doing this event, I need help?

5           A     We did PSD for him.        We also protect his entire

6      event, and the same thing, a general escort for all the

7      attendees after it was over.

8           Q     Okay.

9                 And was in charge of that event?

10          A     Don Siekerman.

11          Q     Okay.

12          A     Well, actually it was supposed to be John Shirley.

13     That's right, John Shirley was there, but then he decided to

14     go and do like to an undercover thing with his retired

15     Houston PD buddy, so it wound up being, by default, being

16     Michael Greene and Don Siekerman.

17          Q     Would it be your understanding or that they would

18     have contacted the local law enforcement and said, hey,

19     we're coming in for this Ali Alexander event?

20          A     Right.

21          Q     Okay.

22                Any issues with that event?

23          A     No, none whatsoever.

24          Q     Now, between the December 12th event and January

25     5, 6, you published a couple of open letters that the
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1      government put into evidence already.         You've seen those?

2           A      Yes.

3           Q      And they're open letters to Trump?

4           A      Correct.

5           Q      And what is the gist -- I mean, the jury has seen

6      them, we've talked them, but what was the gist of those open

7      letters?

8           A      For him to use his position as commander-in-chief.

9      In particular, the one I really wanted him to do was do a

10     declassification of the records that would be in the CIA or

11     NSA of corruption and the illegality and use that to expose

12     the corruption of both major political parties.

13                 And that's the one thing I kept on even, in fact,

14     as late as January the 16th, my final open letter to him was

15     focused entire on that.      At least, if you're not going to do

16     anything else, at least to a declassification data dump to

17     expose corruption in both major parties.

18          Q      And in your mind, was that something you believed

19     he was legally able to do?

20          A      Absolutely.   The President has absolute power to

21     it declassify anything as we're kind of finding out now.

22          Q      You believe you were asking him to do something he

23     could do?

24          A      That's correct.

25          Q      Okay.
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1                 Now, let me go back to it.        The event in Florida,

2      we've talked about Atlanta and D.C. on the 12th.            The event

3      in Florida was there any Oath Keepers, did you have

4      knowledge of any Oath Keepers having to use force or

5      anything there?

6           A     No, not at all.

7           Q     Any knowledge of any Oath Keeper being charged

8      with any kind of offense down there?

9           A     Nope, not at all.

10          Q     So we're leading up to -- and at the time

11     January -- or December 12th, January 6th still wasn't

12     planned yet?

13          A     No, no.

14          Q     So would it be safe to say that your Signal chats

15     and all of that between November 14th and December 12th are

16     for these December 12th events?

17                MS. RAKOCZY:     Objection; leading.

18                THE COURT:    It's overruled.

19                THE WITNESS:     Yes.

20                I mean, that's what we do all the time.           It's

21     pretty short-sighted, frankly, but appropriately so because

22     where there's an event coming up, we create a chat for the

23     event, we create an intel chat, do open source intelligence

24     in support of the event, and then we hold the event and then

25     we just let that chat die.
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1      BY MR. LINDER:

2           Q      Okay.

3           A      Right.

4           Q      So when did you first become aware that there

5      might be an event on January 6th?

6           A      I think that was -- here's what I'm not sure.

7                  I believe it was sometime around the 22nd or 23rd.

8           Q      Of December?

9           A      Yes -- and the first people we were contacted by

10     was Bianca Gracia, from Latinos for Trump, and she was

11     working with Kelly [sic] Lessard from Virginia Freedom

12     Keepers and also Blacks for Trump were part of their event.

13                 But I believe they might have gotten a permit

14     before he announced.     It could be.

15          Q      Okay.

16          A      And that was for the Lower Senate Park because

17     they complained that, because of what Trump did starting his

18     own event down by the White House, that he kind of like

19     sucked the wind out of their audience, they were upset about

20     that.    So it could be that they were already planning it.

21          Q      So would you agree with me that it wasn't until

22     around December 19th, maybe a day or two before or

23     whatever --

24          A      Probably a little bit after.

25          Q      -- that January 6th became a thing?
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1           A     Right, for us, as far as for an operation, right,

2      because we didn't have an event there yet.             No one knew

3      there was going to be event.      Someone announces an event and

4      asks us to help, then we start focusing on how we're going

5      to protect that event.

6           Q     Okay.

7                 So when you decide you're going -- you've been

8      contacted by people and you've got to go, who do you --

9      did you put someone in charge of January 5, 6?

10          A     Yes, that was Don Siekerman as No. 1, and then

11     Michael Greene again as No. 2.

12          Q     And did you have Greg McWhirter?

13          A     I invited him.     Greg is my Vice President, and I

14     really wanted him to be there.        And he was hoping he could

15     get there.   But then he came down with COVID, couldn't

16     make it.

17          Q     Before he came down with COVID, was he originally

18     planning to go; do you know?

19          A     Well, I was inviting him, and he was saying he

20     would come if he could.

21          Q     Okay.

22          A     So he had not yet, like, officially committed.

23     But then he got COVID and couldn't take it.

24          Q     Okay.

25          A     So now, he had shown up, I would have put him as
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1      number one, for sure.

2           Q     And where does he leave?

3           A     Montana.

4           Q     Okay.

5                 And you've known him for several years?           We talked

6      about thought earlier.

7           A     Well, like, he was in -- like I said, he was in

8      the Indiana chapter early on.

9           Q     Right.

10          A     Since 2014, he was on the Board of Directors.

11          Q     Right.

12                Okay.    So do you know how many event organizers

13     contacted you guys -- and I mean Oath Keepers -- to work

14     security for them or for their people for January 5, 6?

15          A     So there was Latinos for Trump, and there was like

16     a three-part, Latinos for Trump, Virginia Freedom Keepers,

17     and Blacks for Trump.     That was the one event up there in

18     Area 7 just north of the Capitol in what's called

19     Lower Senate Park.

20          Q     Okay.

21          A     Okay?    So that's the first event.

22          Q     Do you remember the name Jesus Lives

23     Demonstration?

24          A     I don't, but there was a whole bunch of other

25     little, small events all around the Capitol.
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1           Q      Okay.

2           A      That's what people don't understand.           There's

3      little, small stages, like little postage stamp stages all

4      around the Capitol and the perimeter of the Capitol.              And I

5      believe at least seven or eight were secured that day

6      for permits.

7           Q      Okay.

8           A      Now, we weren't involved directly with all of

9      them.    But we were certainly -- it's like this is going to

10     be the orbit where I'll be walking around escorting people

11     from and to.

12          Q      Okay.

13                 So when did you start getting contacted about

14     going to D.C. to do these events?

15          A      I think it was first from Bianca Gracia.            You'll

16     have to ask her for the date.         I can't remember the date.

17     Sometime, I believe, like, right after Trump's announcement.

18          Q      Okay.

19          A      Like I said, I think she might have been already

20     planning on being there, because she complained about him

21     taking away her audience.

22                 THE COURT:   Mr. Linder and Mr. Rhodes, just be

23     mindful of not talking over one another so our court

24     reporter can take it all down.

25                 THE WITNESS:    Sorry, Judge.
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1                  THE COURT:    No problem.

2                  MR. LINDER:    My fault too.

3                  Are we going too fast, also, for the court

4      reporter?    We can slow down.

5                  THE WITNESS:    I'll start to slow down.

6      BY MR. LINDER:

7           Q      Who is -- you've mentioned the name Bianca Gracia.

8      Who is she?

9           A      She is one of the founders of Latinos for Trump.

10          Q      Okay.

11          A      Yeah, which I belong to, right.

12          Q      Okay.

13                 Now, how many Oath Keepers did you assemble for

14     January 5 and 6?

15          A      So, I mean, so there's Latinos for Trump and then

16     there was Ali Alexander's event in Area 8 on the

17     Capitols Grounds, right at the northeast corner of

18     Capitol Grounds, right across from the Supreme Court, so

19     that was the second event.

20                 And then we also had the PSD detail for

21     Roger Stone, a dedicated team for that, and then a PSD

22     detail for Ali Alexander himself.

23          Q      Were these events all on the 6th or some of them

24     on the 5th?

25          A      On the 6th.
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1           Q     Okay.

2           A     Now, on the 5th, there was the Virginia

3      Women for Trump event at the Supreme Court that we also were

4      asked to protect.

5           Q     Okay.

6                 So when you went to that event -- so when did you

7      go to D.C. to start overseeing these events?

8           A     Well, it wasn't me overseeing them.          It was Don

9      and Michael Greene.

10          Q     Okay.

11          A     So Michael Greene got -- Don got sick.           He came

12     down with COVID, couldn't make it.        So Whip took over, and

13     Whip got there on the night of the 5th in time -- or late

14     afternoon on the 5th in time to go and watch over the

15     Virginia Women for Trump event.

16          Q     We keep using his two names back and forth, but

17     Whip is Michael Greene?

18          A     Yeah.   I just call him Whip.

19          Q     And he's one of the people that's on the board

20     that we pointed out earlier?

21          A     That's correct.

22          Q     Okay.   When did you get to D.C.?

23          A     I got there just about twilight.

24          Q     On the 5th?

25          A     On the 5th.
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1           Q      And who was with you?

2           A      At that point, it was just me and Kellye SoRelle

3      driving.    When we first got to our hotel, if I remember

4      correctly, we just went down to Freedom Plaza.             That's when

5      we met up with other Oath Keepers and eventually also

6      Michael Greene.

7           Q      Now, did you stay in a hotel in D.C. or Virginia?

8           A      Virginia.

9           Q      Okay.

10                 And where did -- do you know where Michael Greene

11     and other Oath Keepers stayed?

12          A      Michael Greene stayed at the same hotel that we

13     stayed at.

14          Q      Okay?

15          A      And I think Todd Wilson stayed there, too.

16                 Okay.    So I got a block of rooms.         That's the

17     hotel I was referring to when I let Kelly Meggs know that if

18     you want to leave your weapons at our hotel, it's a good

19     hotel for it because it's got an underground parking garage

20     with a chain gate that you can't even get through it without

21     the code.    It's very secure.

22          Q      Okay.

23                 So there's been Signal chats where you're talking

24     about having a QRF or QRFs in Virginia for January 5, 6.

25          A      Right.
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1           Q      Did you organize those?

2           A      Well, I knew that -- well, I didn't know where

3      Kelly was going to be going.       So I said, Hey, you can come

4      to this hotel.    I said, We got rooms.        So I knew he had

5      rooms where he was going to leave his firearms and then go

6      into D.C.

7                  I knew that the North Carolina guys were coming,

8      but they weren't coordinating with me at all.            So I just

9      figured they probably had something going on.            I didn't know

10     what it was, though.

11                 And that's it.

12                 So kind of like -- kind of like in December, it

13     was, okay, we're going to go ahead and announce this as a

14     stop against Antifa, but we're not really going to dedicate

15     personnel to it.

16                 We had had problems in our chats, people

17     infiltrating.    So on the morning of, I did say we're going

18     to have multiple teams outside of D.C.

19                 And I also -- one reason why I did that, because

20     the very next sentence I say in that same chat is, Don't

21     bring anything to D.C. that gets you in trouble.             Do not

22     even be tempted to bring anything, even a longer knife or

23     anything like that.     No guns.      I didn't want guys doing

24     that.    So it's like, Hey, guys, we got it covered.            Don't

25     worry about it.    Leave your stuff outside of D.C.
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1           Q      Okay.

2           A      But in a way, that was not quite true, because

3      Michael Greene and I got together that morning and said, Do

4      we really need to leave someone here?

5                  And we both made a decision that, no, we really

6      don't because we don't -- again, we don't want to spare the

7      manpower.    So we left no one in our hotel on our guns.

8           Q      So the videos and photos you saw of people

9      unloading guns at that hotel out in Virginia --

10          A      Right.

11          Q      -- which group was that?

12          A      Well, that was the -- which one?

13          Q      Well, there were two different ones, correct?               The

14     ones the government showed all the people unloading guns in

15     the hotel on the luggage carts.

16          A      Are you talking about the one where Vallejo was

17     carting in all his plastic totes?

18          Q      Yes.

19          A      So that was -- he's from Arizona.          And then the

20     other guys were Kelly Meggs, and the other ones were the

21     ones from North Carolina.

22          Q      So that was a Florida group and a North Carolina

23     group?

24          A      Right, and then two guys from Arizona.

25          Q      Did you have anything to do with those QRFs?
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1           A     No, other than -- other than inviting Kelly to

2      bring his guns to us if he wanted to; and him saying, No.

3      I got my own rooms.

4                 I knew he had some hotel rooms.

5                 I did not know he had gotten those hotel rooms

6      from Paul Stamey.      I had no idea Paul Stamey was involved

7      with Kelly Meggs at all.

8           Q     Okay.

9                 And some of the chats that the government showed

10     earlier in their case, either between Caldwell or Meggs or

11     some of these people from the Florida group or

12     Jessica Watkins, were you unaware of some of that

13     communication?

14          A     I was unaware of any of that communication.

15          Q     You were not aware of --

16          A     No.   I was on none of those chats.         Right.

17          Q     Okay.

18                So would it be safe to say they were chatting on

19     Signal chats and things that you weren't on?

20          A     That's correct.

21          Q     Okay.

22                The --

23          A     Or Michael Greene, he was also not on those chats.

24          Q     Okay.

25          A     That's actually not our SOP.        Our SOP is that
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1      national leadership is supposed to be in every chat so we

2      keep an eye on what's going on.

3           Q     So was it a surprise to you, sitting in this trial

4      a few weeks ago, to start seeing a lot of this stuff that

5      you were unaware of?

6           A     Yes.   Yes, it was.

7           Q     So you didn't control, ask for, plan, or have

8      anything to do with the two QRFs that we saw pictures of in

9      hotels outside of D.C. on January 5, 6?

10          A     What two QRFs were those?

11          Q     Well, the ones that were -- Vallejo and all the

12     ones that were --

13          A     Well, I wasn't involved in that.            But Vallejo --

14     Vallejo on the night of the 5th, I knew he was coming.               And

15     I put him in touch with Kelly Meggs because he needed a

16     hotel room.    I didn't know Kelly Meggs had gotten those

17     hotels rooms from Paul Stamey.        But I knew he had two hotel

18     rooms, and he said he could help Vallejo out with the

19     hotel room.

20                That's all I knew.     I didn't know that Vallejo

21     considered himself a QRF.      He was giving people rides on the

22     night of the 5th.      And that's what he was doing, which was

23     great.   He was coming in and out and giving guys rides.

24     Then he lost his truck the night of the 5th.            In the morning

25     on the 6th I saw him saying that he finally found his truck.
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1           Q     So when you say "giving rides" --

2           A     Right.

3           Q     -- is he taking people from their hotels in

4      Virginia to do security work in D.C.?

5           A     No.   He was on the grounden D.C.           We met at

6      Freedom Plaza.     He was there with his buddy.         And then guys

7      that were there on the ground needed rides.            And he was,

8      I'll give you rides.     I've got a truck.

9                 So he was giving guys rides.        I don't know where

10     they went or where he took them.       I just know he was giving

11     rides that night.

12          Q     Okay.

13          A     And then he lost his truck on the street.             He

14     parked it somewhere and couldn't find it.

15          Q     Okay.

16          A     But I mention that because the next morning or the

17     next day when he found his truck, then he did say later,

18     "I'm standing by," and I didn't see those till later, till

19     like that night.

20                But in one of those he said, Arizona would not let

21     anybody walk, and what he meant is that, I'll give you a

22     ride.

23          Q     Yeah.

24          A     Yeah.

25          Q     So we discussed earlier, Friday, how silly that
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1      QRF would be if it was -- he's trying to, if someone is

2      trying to call that QRF, having all the guns in a hotel room

3      with one old guy?

4           A     Or even just Vallejo, right.

5           Q     Right.

6                 How long would it have taken him to load that

7      stuff into --

8           A     Forever, however long it took him to get it all

9      inside the hotel.

10          Q     Right.      He was by himself?

11          A     Right.      He said, I have trucks ready to roll, I'll

12     bet you there's no footage of him taking all that stuff back

13     out to his trucks and loading it back on his trucks the

14     night -- on the day of the 5th or 6th, I mean.

15          Q     So when you had --

16          A     I doubt it.      I'd be surprised to see any video you

17     guys can produce of that.

18          Q     So when you planned a real QRF in D.C. for

19     November 14th --

20          A     That was a real QRF.

21          Q     -- that was a mobile van?

22          A     Right.

23          Q     That could be quickly deployed to pull out someone

24     injured or --

25          A     No, not to pull out someone injured.
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1                 THE COURT:      Hang on, Mr. Rhodes.

2                 Mr. Linder, I'll ask you to be mindful of talking

3      over each other.       Let him finish the question, you answer.

4      It will be easier that day.

5      BY MR. LINDER:

6           Q     So the plan, that could have been a quick thing,

7      having a van outside the District and being able to call it

8      in if needed?

9           A     Yes, but not to evacuate anyone for medical.

10     That's not what it was for.

11          Q     All right.

12          A     It was only -- because it was full of weapons.

13          Q     Right.

14          A     How are you going to go into a places where you

15     can't have weapons and use it to pull people out, you can't

16     do that, unless the President invokes the Insurrection Act.

17          Q     That's what I was getting to.

18          A     Right.

19          Q     If you were allowed to come in, he could have

20     brought the van in and done a number of different things.

21          A     Whatever the President wanted us to do.

22          Q     Okay.

23          A     But my primary --

24                MS. RAKOCZY:      Objection as to the legal

25     conclusion.
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1                 THE COURT:    Based on his understanding.         It's

2      overruled.

3      BY MR. LINDER:

4           Q     So January 5, 6, was not like November 14th?

5           A     No, because I didn't think the threat to the White

6      House -- my focus in November was on the threat to the

7      White House.    That's why I wanted a van to be, like you

8      said, a quick, short time to actually come in and secure the

9      White House.

10          Q     Okay.

11          A     That was my concern.

12                When that was no longer a strong concern, we

13     didn't want to waste the manpower on having dedicated

14     personnel left in a van parked outside of D.C. just sitting

15     around for nothing.

16          Q     Okay.

17          A     So we scaled back and left our stuff in the hotel

18     rooms.

19          Q     Did you recall Mr. Nestler, in his opening

20     statements, saying November 14th and December 12th were kind

21     of dress rehearsals for January 6th?

22          A     Yeah, I heard that.

23          Q     Okay.

24                Would you agree with me that November 12th -- or

25     November 14th and December 12th were both Saturdays?
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1           A     That's correct.

2           Q     And was Congress in session?

3           A     I don't believe so.

4           Q     Okay.

5                 January 6th, quite different?

6           A     Yes.

7           Q     Okay.

8                 Now, on January 5, 6, did you have any

9      communications with Jessica Watkins?

10          A     No.

11          Q     Did you have any communications with

12     Thomas Caldwell?

13          A     No.

14          Q     Okay.

15                You've later learned that they were there?

16          A     Right.

17          Q     Okay, but you weren't communicating with them

18     directly that day?

19          A     No.

20                I knew -- I saw that Don Siekerman had added

21     Jessica to the J6 op chat.      She had been on prior operations

22     like Louisville and done a great job, so I saw that she was

23     added and, of course, she'd been welcomed to come along with

24     us, but I did not know she was actually in D.C. until

25     afterwards when I learned about her being doxed by a
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1      journalist for being inside the Capitol.          That's when I

2      found out she'd even been there.

3           Q     Okay.

4                 So you assemble people in D.C. on the 5th and

5      you've got multiple events that you're working on the 6th.

6      Do you remember how many groups of Oath Keepers you had

7      dispersed around the area?

8           A     So we had those four -- you should call them

9      dedicated teams, doing those four things; two physical,

10     fixed-location events; two PSD teams that were going to be

11     moving people back and forth; and then the other mission

12     because a general escort mission.

13          Q     Okay.

14          A     And we had multiple teams doing that.           So there

15     was a team from Virginia doing that, a team from Wyoming, a

16     team from Utah, and Wyoming and Utah came together, they

17     drove all the way from Wyoming and Utah, they were doing

18     that general mission.     Then there was a California team of

19     four guys.   Then there was a team from New Jersey.            Then

20     there was a team from New York.       Then there was a team from,

21     let me think now -- I think that's it for the general

22     escorts.

23          Q     Okay.

24                And so how many people would you estimate that --

25     or how many Oath Keepers would you estimate were there?
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1           A     Well, then there was a South Carolina team, and

2      they were charged with staying at the Latinos for Trump

3      event.

4           Q     Okay.   And then there was a Florida team.

5                 You said Florida team.      Is that with Meggs?

6           A     Meggs, correct.

7           Q     Okay.

8           A     And Ms. Watkins jumped on that.         I didn't even

9      know she was there but she jumped on that one.

10                And there was the Alabama team and they were

11     assigned to Roger Stone.

12                And I think that's it.      Right.

13          Q     Okay.

14          A     So altogether, there's North Carolina.           But

15     North Carolina no longer, I knew they no longer wanted to do

16     anything with us because John -- or Steve Cochran had sent

17     me a text message where he had a screenshot of a post that

18     Doug Smith had done on a new chat from North Carolina that

19     excluded me and Whip, where he said that North Carolina will

20     not --

21                MS. RAKOCZY:     Objection; hearsay.

22                THE COURT:    Sustained.

23     BY MR. LINDER:

24          Q     Without getting into what he said, you and

25     North Carolina, y'all had split, correct?
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1           A     Well, they had split from us, yes.          They were not

2      going to take part in the operation and they did not take

3      part in it.

4           Q     Okay.

5           A     So I don't know what they were doing.           So that was

6      40 guys.

7           Q     So you estimate you had about 40 guys there?

8           A     No, that was 40 in North Carolina alone.

9           Q     40?

10          A     So altogether, probably about 100 Oath Keepers

11     were in D.C. on that day.

12          Q     But you were coordinating with the other 60?

13          A     Yes, that's correct.

14          Q     And you had them -- now, when they start their

15     security duties on the 6th, is that something they start off

16     in the morning?

17          A     Yes.

18          Q     How does that work?

19          A     Well, the ones are assigned to a particular event

20     or PSD detail, they know from the organizers what time to be

21     there.   Everyone else is going to attend The Ellipse rally

22     and then do the afterwards.

23                The main effort for general escorts is after it's

24     over, especially at night.

25          Q     Okay.
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1           A      Because after it's over, over the last four or

2      five years with the Trump administration, the pattern was

3      that Antifa usually would attack people when the event was

4      over and they're going back to their hotels into the

5      darkness.

6           Q      Okay.

7                  So the idea was for most people to be at the

8      Ellipse and then go to their stations or walk their people

9      where they're supposed to take them?

10          A      Well, once you were -- like, South Carolina went

11     straight to Latinos for Trump because their event started

12     at, I believe, 10:00 a.m.

13          Q      Okay.

14          A      So -- and then later they were joined be, I think

15     it was New Jersey.     So they went to the Latinos for Trump

16     event early in the morning or earlier.

17          Q      And when they do that, are you communicating with

18     them?    Do you just trust them, hey, this is your assignment,

19     go do it?

20          A      Well, Whip was communicating with them.          He was

21     over that whole thing.

22          Q      Okay.

23          A      So he was primary on communication with them.

24                 Like I said, it's leadership by exception.

25     I'm not going to step in unless I see a problem.
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1                 So I attended the Latinos for Trump event and

2      spoke there about 11:00 in the morning and so did

3      Kellye SoRelle.    We were both speakers at that event.

4           Q     Okay.

5           A     My plan was to be there all day just hanging out

6      there.

7           Q     What was the weather like that day?

8           A     Really cold.

9           Q     So what time did you get up in the morning and go

10     out and start doing what it is you do?

11          A     I think we left about 8:30 or 9:00.

12          Q     When you say "we," who are you talking about?

13          A     That was Whip, Kellye SoRelle, myself, and I think

14     Todd Wilson was in the vehicle with us to you.

15          Q     Okay.

16          A     And then a police officer retired from New York

17     had shown up that morning and hooked up with us and he

18     followed us in his vehicle.

19          Q     And so what was your primary -- what were you

20     going to do that morning when you got up and got out, where

21     were you going?

22          A     Going to the Latinos for Trump event.

23          Q     To do the 11:00 speech?

24          A     And stay there all day.       In fact, I said it in

25     chats that Whip and I will be here as our default all day.
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1      So if you need to reach us, that's where you're going to

2      find us.

3           Q      And where was the Latinos for Trump event

4      scheduled to take place, where was it permitted?

5           A      That was just north of the Capitol in Lower Senate

6      Park.    On that diagram, if you just go up by two blocks, of

7      course, D.C. blocks are big blocks, so two blocks north of

8      the Capitol.    It's still on Capitol Grounds but it's at

9      Lower Senate Park.

10          Q      So did y'all go there that morning and do your

11     speech?

12          A      Yes, that's Area 7 on the map.

13          Q      So how long do you remember being there?

14          A      I think till right about noon.

15          Q      Okay.

16          A      And then Kellye had to use the restroom, and we

17     had to walk to use porta potties by the Supreme Court.

18     There was a huge line, and she was just freezing.            And then

19     she just said, I've got to get inside somewhere.            I'm just

20     too cold.

21                 So we -- I called Dario, and he had a hotel room

22     not too -- he had a hotel room close by.          And we went to a

23     food truck on the way to his hotel room, had some chicken

24     wings, and then went to his hotel room for her to warm up.

25          Q      You say Dario.    Is that Dario Aquino?
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1           A     That's correct.

2           Q     Okay.

3                 Do you remember which hotel it was at?

4           A     I can't remember the name of it.

5           Q     Was it north of the Capitol, kind of like on the

6      lawn?

7           A     I believe it was northeast.

8           Q     Okay.

9           A     I'm not quite sure.

10                I was disoriented that day, embarrassingly so,

11     yeah.

12          Q     Hey, I understand.

13                So who's "we," when you say, We went to the

14     hotel room?

15          A     Kellye SoRelle and I.      We walked to Dario's hotel

16     room, and he was already there.       And we watched the

17     President's speech and were eating food and getting her

18     warmed up.

19          Q     Who else went with you?

20          A     Kellye SoRelle and I.

21          Q     Whip wasn't with you?

22          A     No.

23                Whip was still -- he had initially designated the

24     Peace Monument, where I guess call it a lineup later on, but

25     it was like a rally point, because it was kind of in between
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1      all the events.

2           Q      Okay.

3           A      So he was still, I think, hanging out in that

4      area.    I'm just speculating, actually.       But I believe he was

5      over there along with Joe and Landon Bentley.

6           Q      And you weren't communicating with any of these

7      people, with Caldwell --

8           A      No.   They do their -- no, no, not at all.          Yeah.

9           Q      Yeah.

10                 So they're doing their own thing, and you're just

11     talking to Kelly and Whip?

12          A      Right, right.

13          Q      Okay.

14          A      And Whip's in charge of the details, and my main

15     focus right at that moment was keeping her safe and then

16     also getting her warmed up.

17          Q      So when is the first time you heard or saw or got

18     information that the Capitol was being breached?

19          A      Well, when you say "breached," you mean

20     the grounds?

21          Q      Yeah, the grounds, people went through barricades,

22     whatever.

23          A      When Whip called me, I believe it was right about

24     1:45.

25          Q      Okay.
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1           A     Right.

2           Q     And --

3           A     He called me and said, They're storming the

4      Capitol.

5                 I said, Who?

6                 And he said, The Trump supporters.

7                 And then I looked like -- there was like a little,

8      short video of a police officer punching a Trump supporter,

9      like leaning over one of the bike barricades and punching a

10     Trump supporter.       And then I realized that they're starting

11     to enter the Capitol Grounds.

12          Q     Were you in the hotel when you got this

13     phone call?

14          A     Yes.   I was with Dario and Kellye SoRelle.

15          Q     So when you got this information, what did you do?

16          A     I told Whip, Well, I'm going to head that way to

17     see what's going on.       And then when I get down there, let's

18     link up.   That's what I told him.

19          Q     Was he still at the Freedom Plaza, wherever he was

20     supposed to be?

21          A     I believe he was -- you know, I'm not quite sure.

22     But I think he was probably still around the Peace Monument,

23     because he was still, you know, seeing that as kind of the

24     rally point or central of the different teams.

25                You have to ask him, frankly, though.
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1           Q      Did you meet with up with him?

2           A      Eventually, yes.    That's where all those phone

3      calls and text messages, me trying to figure out where

4      I'm at --

5           Q      Okay.

6           A      I mean I knew where he was on the ground.           I knew

7      that this was Area 8, and I knew where the Capitol.             But

8      I just got disoriented about my cardinal directions, which

9      one was north and south and east and west.

10          Q      And some of the video, I think it was Facebook

11     video that Kellye SoRelle posted, shows you and Whip there

12     looking at the Capitol when y'all are walking.?            Isn't there

13     some video that shows people going into the Capitol that we

14     saw earlier in the trial?

15          A      I'm sorry.   I can't understand what you're

16     asking me.

17          Q      Well, didn't Kellye SoRelle at some point when

18     y'all were there post some video of people going into the

19     Capitol?

20          A      Yeah, but Whip was not there.

21          Q      So Whip wasn't there when that happened?

22          A      No.

23          Q      Who was with you, was it just the two of you?

24          A      Me and Kelly and Dario.

25          Q      Dario?
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1           A     So Dario walked back with me.         Because here's what

2      happened with Dario.     Dario is from Florida, but Dario had

3      friction with Kelly Meggs on their chats.          And Dario had

4      done a good job in Atlanta.      So I said -- he wanted to come

5      to D.C.   He didn't want to be with Kelly Meggs' team.

6                 I said, Well just come hang out with me.            You can

7      hang out with me all day if you want.

8           Q     Okay.

9           A     You know, we'll use you with the South Carolina,

10     along with the South Carolina team at Latinos for Trump

11     event.

12          Q     Okay.

13          A     Right.

14          Q     So it's Dario that we see in the video with you

15     and Kellye?

16          A     That's correct.

17          Q     Okay.

18          A     But he's not my bodyguard.        I don't need a

19     bodyguard.

20          Q     And there's a lot of comments you make and that

21     Kellye SoRelle make about patriots going in and here we are

22     and all that kind of stuff.      Would you agree with me?

23          A     Well, no.    We did not realize there was anyone

24     going inside until later.      I didn't realize -- there were

25     people -- we were on the upper back terrace, which I now
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 63 of 207

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1      know is the West Terrace.      But in that upper terrace, you

2      could not see what was going on down below.

3                  All I knew was that there was a huge crowd of

4      Trump supporters on the outside around the Capitol, and then

5      I saw people on that upper terrace start banging on the

6      windows.    And I was like, Oh, shit, they might actually

7      break in.

8                  That's when I kind of pulled her back, and the

9      cops started to spray tear gas.       And I started pulling

10     her back.

11                 As we were moving back toward what I now know is

12     the northeast corner, that's when I first saw people coming

13     out and I realized that anyone had gone inside.            I saw some

14     Trump supporters coming up a ramp of the northeast corner,

15     and I took a picture of it on my phone.          The folks came up

16     this ramp.    And then I was like, Okay, they actually got in.

17                 And that's when I said, We need to go in.           And we

18     went back towards Area 8.      And that's when I said, Come

19     here.    Come to the northeast corner of Capitol Grounds if

20     you're not on mission.      If you're stilling to whatever

21     you're supposed to be doing, keep doing it.            But if you're

22     not on mission -- what I was most concerned about was

23     Kelly Meggs and his team.      I didn't know where they were.

24     I was trying to link up with them.        I couldn't find them.

25          Q      What was their mission earlier?
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1           A      Their mission was to start at the --

2      President Trump's event on The Ellipse and to escort

3      Ali Alexander and his speakers, and Jeff Morelock was

4      directly attached to Ali Alexander as his personal bodyguard

5      that day.    And the rest of them were supposed to escort all

6      of Ali Alexander's speakers and their family.           Like the one

7      black lady they're seen walking with, she was the mother of

8      one of Ali Alexander's speakers that day.

9                  So they were supposed to escort them from

10     The Ellipse to the Area 8 permitted event on Capitol Grounds

11     that Ali Alexander had scheduled for that afternoon.

12                 And Roger Stone was a keynote speaker at that

13     event.   That's what he was supposed to be doing.

14                 So the other team for Roger Stone was supposed to

15     escort him from, same thing, from The Ellipse to where they

16     thought he'd be speaking, but turns out he was denied a

17     speaking slot.      They were supposed to be escorting him from

18     The Ellipse to the Area 8 event where he was going to speak.

19          Q      So Meggs' group is supposed to be watching

20     Ali Alexander?

21          A      No, not -- Ali Alexander's people.

22          Q      People, right.

23          A      Yeah.    Jeff Morelock was on Ali Alexander.

24          Q      Who is the group that is with Roger Stone?

25          A      That was Josh James, Robert Minuta.         And
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1      Robert Minuta had been an EMT.        I wanted to make sure --

2      when you've got an elderly person like that, I always want

3      to make sure that someone with medical training is on

4      the team.

5                  So we put that EMT and Josh James, and then that

6      ended up being Mr. Ulrich from Georgia and I think two

7      others.   I'm not sure who they were.

8           Q      Okay.

9                  And when did you find out that they or some of

10     these guys had gone off mission?

11          A      Well, that's the thing, is I expected that -- I

12     heard that the Roger Stone detail said, Hey, he's not

13     leaving this hotel.

14                 I can't remember if Whip told me this or if I saw

15     it in a chat.

16                 He's not leaving his hotel.       He's staying at the

17     Willard, and the guys are freezing standing outside.

18                 So Whip told me, Go ahead and go back to the hotel

19     and warm up.

20                 So I knew they were doing that.

21                 I didn't know what happened to them after -- I

22     didn't know if they were going to go pick up Roger Stone.

23     I presume they were eventually going to get him again.              So I

24     wasn't too worried about them.

25                 I thought they were going to be okay.
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                                                                               7213

1                 I was worried about Kelly Meggs' team because they

2      were supposed to be coming to Area 8, and I'm looking and I

3      don't see them there.

4           Q     Okay.

5           A     And that's when I started, you know, first trying

6      to find Whip, want make sure that we're together.            And then

7      my next goal was to try and make contact with Kelly Meggs,

8      because my concern was, well, this Area 8 event is not going

9      down.    There's -- I don't see a stage.       I don't see any

10     sound equipment, which was weird.        I don't see any speakers

11     or anything.

12                And I'm wondering where my people are, and I was

13     worried about them.     I was concerned about it because I

14     didn't want them getting wrapped up in all the nonsense with

15     the Trump supporters around the Capitol.          I wanted to keep

16     them out of that, because idle hands are the devil's

17     playground.    So if you're not on mission anymore, I want

18     them to come to me and Whip so we can keep an eye on them.

19          Q     So your goal wasn't to round them up and go charge

20     the Capitol --

21          A     No.   Exactly the opposite.

22          Q     Right.

23          A     My goal was to make sure that no one got wrapped

24     in that Charlie foxtrot going on outside the Capitol.

25          Q     Right.
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                                                                               7214

1           A      Yeah.

2           Q      So what was the phone and texting situation like

3      that day?

4           A      Ridiculous.   It was bad.     Really hard to get

5      through.

6                  Some messages I didn't get until later that night,

7      and some of my messages did not get through till later

8      that night.

9           Q      There was some evidence admitted by the government

10     on your phone, I guess, showing a minute-and-a-half phone

11     call between, I guess it was you and Whip and Meggs at

12     some point.

13          A      That's correct; attempted phone call.

14                 Yeah, me and Whip would talk.

15                 Now, this has been a problem earlier in the day.

16     In fact, when Jeff Morelock had gone to The Ellipse first,

17     along with Ali Alexander, and he was the one arranging all

18     of the VIP passes for the rest of Kelly Meggs' team, but

19     Morelock could not get ahold of Kelly Meggs.           He couldn't

20     reach him by phone at all.      He was trying to send a text

21     message to tell him where to go.       And that wasn't getting

22     through either.

23                 So he contacted me, and I wound up taking that

24     message and posting it on Signal saying, Here's a message

25     from Jeff Morelock for Kelly Meggs, letting you know where
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1      to go to pick up your badges.         That's what we were

2      attempting to do.

3                 Kelly Meggs couldn't -- apparently couldn't even

4      find that.

5           Q     Okay.

6           A     So what happened is Jeff Morelock had to go out

7      and locate on the ground Kelly Meggs and his team, walk him

8      in, and get him their badges.         That's how bad the comm was.

9      We couldn't reach Kelly Meggs on his phone.

10                So later when I was trying to reach him again,

11     same problem.    I could get ahold of Whip, but we could not

12     get ahold of Kelly Meggs.

13          Q     So you're on a phone call with Whip and trying to

14     merge a call?

15          A     I was -- left messages with Meggs or made

16     attempted phone call, I mean.         That's why you see, like, two

17     seconds, two seconds, two seconds.         And Whip was trying to

18     see do the same thing.

19                Finally, I got Whipp on the phone.            And then Meggs

20     called in.   I could see the incoming call.             So I merged the

21     two calls, but then we couldn't hear.

22          Q     Okay.

23                So there's no plan of you guys or Meggs saying,

24     Hey, we're going in the Capitol?

25          A     No, no communication at all.
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                                                                               7216

1           Q      Okay.

2           A      I could not hear him, and then he just dropped off

3      again.   And then it was just me and Whip again going, We

4      don't know where he's at.

5           Q      When you saw the people going into the Capitol

6      eventually --

7           A      I saw them coming out.

8           Q      Oh, you saw people coming out?

9           A      Up that ramp, yeah.

10          Q      Okay.

11                 Did you have any idea that there were any

12     Oath Keepers that had gone in?

13          A      No, never even crossed my mind.

14          Q      When was the first time you heard of any

15     Oath Keepers that had gone into the Capitol?

16          A      When Kelly Meggs and his team walked up afterwards

17     and walked up to me and told me they had gone inside.

18          Q      Okay.

19                 So was there a plan to go in and disrupt the

20     electors?

21          A      No.   No, no.

22          Q      Intrinsic or extrinsic?

23          A      Pardon me?

24          Q      Intrinsic or extrinsic?

25          A      Not at all.     It was nowhere our mission of the
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24   Page 70 of 207

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1      day.   Nowhere in our mission scope at all.

2             Q   What was your belief in the only way the election

3      certification could get interrupted legally?

4             A   I didn't believe there was any way it could be

5      interrupted.

6             Q   Well, did you believe Trump could invoke the

7      Insurrection Act?

8             A   Not to do that.

9             Q   No to do that?

10            A   We have a separation of powers.

11            Q   Okay.

12            A   Nothing that I was anticipating to do with the

13     Insurrection Act had anything to do with stopping Congress

14     from certifying the election that day.

15            Q   Okay.

16            A   So no.      I wanted him to go and, like I said, seize

17     evidence and seize data and conduct investigations that you

18     can do in the Executive Branch.        But I would never -- that's

19     why it's nowhere in my open letter to him.

20            Q   Yeah.

21            A   I don't say, you know, Invoke the Insurrection Act

22     and use SOCOM to go stop the certification.             You're not

23     going to find that because it's not there.

24            Q   Okay.

25                So you never implied to anyone or anybody, Hey,
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 71 of 207

                                                                               7218

1      let's go and disrupt --

2           A     No, no.

3           Q     -- the electors?

4           A     No.

5           Q     Okay.

6                 So if anybody says that they had that idea, that

7      would be something they created in their own mind?

8                 MS. RAKOCZY:     Objection.

9                 THE COURT:    Sustained.

10                THE WITNESS:     Well, it's certainly not from me.

11                THE COURT:    Hang on.     Restate the question.

12                THE WITNESS:     Sorry, Judge.

13                THE COURT:    It's okay.

14     BY MR. LINDER:

15          Q     So you never layed out a plan, never talked to

16     anybody about it, and, in your mind, didn't imply to anybody

17     to go do it?

18          A     No, no, absolutely not.       Right.

19          Q     Okay.

20          A     All of my effort was on what Trump could do, and I

21     presumed that Congress was going -- even said that in open

22     letters.   I expect them to go ahead and certify this

23     unconstitutional election.

24          Q     Okay.

25          A     But you still need to take your responsibilities,
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1      do what you can do, even after that happens.

2           Q     Okay.

3                 When you started telling everybody to meet up with

4      you on, I guess, originally the south side, but it was --

5           A     No.   I was trying to -- I was totally upside-down

6      and confused.

7           Q     Right.

8           A     When I finally figured out where the north -- that

9      I was actually on the northeast, that's when I finally told

10     them the right place to go.

11          Q     How many people met up with you and who were they?

12          A     I was always trying to get them to go to

13     that spot.

14          Q     Right.

15          A     Meggs' team walked up.      And Jessica barely had

16     left earlier and gone somewhere else.         I still didn't know

17     she was even in D.C.     I only found out here watching

18     the videos.

19                But Meggs' team walked up, and then the North --

20     not North Carolina.     Then the Jersey guys came over.          And

21     the South Carolina guys came from the Ladinos for Trump

22     event, which was now over.      This was about 4, 4:00 p.m.,

23     I think.

24          Q     Okay.

25          A     So I'm just trying to add them all up.           So maybe
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                                                                               7220

1      about 24 people, somewhere in there, altogether.

2           Q     Now, were you communicating with those groups, the

3      North Carolina groups and all of that?

4           A     No, not at all.

5           Q     Who were you communicating with trying to get --

6           A     The South Carolina team because I left my backpack

7      there that had my helmet and C-cell flashlight.            I did not

8      bring a baton into D.C. because I decided not to, but I

9      brought a C-cell flashlight, which could do the same thing.

10     So I brought that.     And was just like, Hey, I'm concerned

11     about my gear.     That's my big concern that day is, Hey,

12     guys, don't lose my helmet, you know.

13                So they brought my backpack with that.           When the

14     event there ended, they escorted the speakers to their

15     hotel; and then they came to where I was.          Once they were

16     done with their operation, they followed my instructions.

17     You're not on mission anymore, come here.          So they came

18     where I was along with the New Jersey team.

19          Q     So how many people was it again that eventually

20     met up with you?

21          A     So South Carolina was about six guys.           New Jersey

22     was three or four.     So that's nine right there, nine, ten.

23     And then Kelly Meggs and his team.

24          Q     Okay.

25                And how long did it take you to get everybody
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1      circled up there?

2           A     Well, I mean, I was still waiting to find out

3      where Josh James went and his team because we hadn't heard

4      from him for a while.     And then they eventually showed up.

5      And I did not --

6           Q     Did you realize they had gone into --

7           A     No.   Did not know.

8           Q     Okay.

9                 Did they tell you when they got down to you?

10          A     No, they did not.

11          Q     When did you learn that he had gone in?

12          A     I think only when we saw Josh James' picture on,

13     like, the FBI list --

14          Q     Okay.

15          A     -- I think is when we figured that out.

16          Q     So did he go to dinner with you that day night?

17          A     Yes, he did.

18          Q     But didn't tell you that he went in?

19          A     No, he did not tell us.

20          Q     Did -- Dolan testified that he did tell you that

21     he went in that day when he got there.         Is that true?

22          A     Dolan did?

23          Q     Yeah.

24          A     Well, Dolan was with Kelly Meggs.

25          Q     Right.
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1           A     So I knew they had gone in.

2           Q     Okay.

3                 So Dolan referenced a comment you made to him when

4      he told you he went in.

5           A     Well, he didn't tell us.        Kelly Meggs told me.

6           Q     Okay.

7           A     Right.

8           Q     Then did you respond?

9           A     I said, That was stupid.

10          Q     Right.      So what Dolan testified to is accurate?

11          A     Yes, it is accurate.        I said, Why did you do that?

12                And then I'm not sure if you want me to go into in

13     this right now, but it's up to you.

14                And then Kelly said, Because we --

15                MS. HUGHES:      Objection; hearsay.

16                THE WITNESS:      All right.

17     BY MR. LINDER:

18          Q     But they told you they went in, and you told them

19     it was pretty stupid?

20          A     Yeah, correct.

21          Q     Okay.

22                So when you left in, was Kellye SoRelle with you

23     when you're circling all these people up?

24          A     Yes.

25          Q     And Whip is there?
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1           A     Yes.    He had gotten there by that time.

2           Q     And so at this time, you only know that Meggs'

3      group had gone in?

4           A     That's correct.

5           Q     All right.

6           A     And Todd Wilson.

7           Q     Okay.

8           A     He also walked up and said, Yeah, he'd gone in

9      also.

10          Q     Okay.

11                So by no means did you congratulate anybody for

12     being in; or, Hey, thanks for sticking to the plan?

13     Anything like that?

14          A     No.

15          Q     There was no plan to go in, correct?

16          A     No.

17          Q     All right.

18          A     Not by me, that's for sure.

19          Q     Right.

20                So after you got everybody circled up, is that

21     when you all went to this infamous Olive Garden dinner.

22          A     Well, no.    What we first did is we -- I believe we

23     went back to the Phoenix Hotel, I believe.

24          Q     Okay.

25          A     And I forgot Kellye had to go talk to Bianca or
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1      something.   So we went there first, I think.

2           Q     Okay.

3           A     And then -- because it's been two years now.             I'm

4      not really quite sure.

5           Q     I understand.

6           A     But after that, we did end up going to dinner.

7           Q     When you went to the Phoenix Hotel, was it all of

8      these people?

9           A     Some of them, yeah.

10          Q     Okay.

11          A     And that's, I mean, Josh James went with us there,

12     Todd Wilson.

13                I think a couple of guys from South Carolina.                So

14     we went there.

15                And once again, to warm up, too, lot of the guys

16     were really cold.      So that's a quick place to go, not too

17     far way to go warm up.      And then after that, we all went

18     back to their -- basically, we're done, that's it, because

19     we had heard the curfew was coming down.

20                So let me back up a second.        When I figured out

21     people had gone inside, once we got the bul- -- the teams

22     that I knew were supposed to be coming to the Capitol or

23     were close to the Capitol, like the South Carolina guys,

24     they were done with their event at Lower Senate Park, they

25     came to me, I now had Meggs and his team with us finally,
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1      and now had Josh James and his team, and they're all

2      supposed to be at Area 8 anyway, now I had all the ones that

3      are supposed to be at Area 8 with us, and I said, let's go

4      to the Supreme Court, get off of Capitol Grounds.            That's

5      first thing we did.

6                 And then some of them came with us to go to the

7      Phoenix Hotel and back to Bianca's, back to her suite.

8           Q     And then eventually to dinner?

9           A     Then after that to dinner, yeah.

10          Q     And were you guys celebrating your victory of

11     invading the Capitol at your dinner?

12          A     No, no.

13          Q     Okay.

14                What was the talk about at dinner from you?

15          A     Just what happened and then, once again, I'm like

16     a broken record, I'm all about the Insurrection Act.

17          Q     Right.

18          A     Is what Trump can do.

19                And I knew that Congress was going to certify it.

20     I knew they would.     I knew there would be challenges and I

21     supported the challenges, but I didn't think that they would

22     be of much effect.

23          Q     And even at this dinner Josh James didn't tell you

24     he had gone in?

25          A     No, he did not.
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1            Q    All right.

2                 So after dinner, what happens?         What do you guys

3      do?

4            A    Back to our hotel rooms.       We were going to leave

5      the next morning.

6            Q    And then you, did you leave the next morning?

7            A    We did.

8            Q    Who did you leave with?

9            A    All of us from the hotel left, same time, Kellye

10     and I and Whip and Landon and his buddy.

11           Q    Okay.

12                There was some evidence that the government put in

13     saying that you'd potentially turned off your phone for a

14     couple days on your way back to Texas, is that true?

15           A    That's true.

16           Q    Why did you do that?

17           A    Kellye was worried about it.        She was, you know,

18     more conspiratorial.

19                I'm a very public person.       I've been doing this

20     for 13 years.    I've been a dissident for 13 years against

21     the establishment.     I know they know who I am and where to

22     find me.

23                But she was worried about it.         She was like,

24     I want to get back to Texas before we have any hassles.                 So

25     she's like, They're going to be coming after you because
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1      you're the leader of Oath Keepers.         Just do me favor and

2      turn your phone off until we get back to Texas.             That's what

3      that was.

4           Q      Do you know what her fear was?

5           A      I think her fear was that, like, in her head that

6      the black hats were going to start rounding people up.               But

7      I was a little worried about that, too, frankly.

8           Q      Do you believe that's because people went in to

9      the Capitol?

10          A      I think -- well, this is why I think it was stupid

11     to go inside the Capitol.      First, it was not our mission;

12     but, second, it opened the door for our political enemies to

13     persecute us and that's what happened and here we are.

14          Q      That wasn't your idea at all to have anybody go

15     into to the Capitol?

16          A      No, not at all, no.       And if they'd asked me, I'd

17     have said don't.

18          Q      So you get back to Texas and a couple days later

19     you have a meeting with Jason Alpers in Dallas;

20     is that correct?

21          A      That's correct.

22          Q      And why did you have this meeting?

23          A      Well, I was looking to try to find someone that

24     could get me a direct line to Trump to give him my advise on

25     the Insurrection Act.
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1           Q     Okay.

2           A     Like I said, my main focus is on declassification

3      and data dump exposure.      You know, sunlight is the best

4      disinfectant.     You got corruption in government, I want to

5      expose it.   It's not about guns.      It's about exposing

6      wrongdoing in both political parties.         So I was hoping that

7      someone could get this message to Trump.          Because I don't

8      think enough attention had been paid to his power to

9      declassify anything.

10          Q     Okay.

11                And in your mind do you still believe that was a

12     legal action that the then-President could taken?

13          A     Of course.

14          Q     And you were asking him to do something that you

15     believed was perfectly legal?

16          A     Yes.

17          Q     Okay.

18                Did your friend Chad Rodgers provide you with this

19     avenue to talk to his guy who might be connected to Trump,

20     Jason Alpers?

21          A     Yes.

22          Q     The -- we've heard the recording of the meeting

23     and the talk of the Civil War and Alpers' concern about it.

24     Was that rhetoric and bombast in your opinion?

25          A     Oh, of course it was, right.
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1             Q     Okay.

2             A     I'd had a couple drinks at dinner also along with

3      Kellye.

4             Q     Okay.

5             A     Right.

6                   And I was also concerned for our country, I really

7      was.    I was very concerned about what had happened all

8      through 2020 and what I saw as a continuation of the same

9      agenda, which is to cause destabilization and to really pull

10     a coup.

11            Q     Had you guys wanted to go into the Capitol armed,

12     you could have done so, couldn't you?

13            A     Right, and I would have used all the people I had

14     in D.C. on the same day.

15            Q     And you wouldn't have messed with the petty D.C.

16     firearms laws, would you?

17            A     No, of course not.

18            Q     You'd just come in and done what you wanted to do.

19            A     If I was actually that kind of a person then,

20     yeah.      But I'm not.

21            Q     Okay.

22                  So after January 10th, and after the inauguration

23     on the 20th, did you stop putting forth this

24     Insurrection Act rhetoric?

25            A     When?
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1             Q   After the inauguration on the 20th?

2             A   Of course.

3             Q   Why is that?

4             A   Well, Trump is no longer president, how could he

5      invoke the Insurrection Act.

6             Q   Correct.    There's no more of this bombast and

7      rhetoric coming from you after the election's done.

8             A   Well, not about the Insurrection Act.

9             Q   Correct.    Other things?

10            A   Sure.

11            Q   But not about --

12            A   I wear my heart on my sleeve.         I always have.

13     I have strong beliefs and a passion about what I believe in.

14            Q   But you believe leading up to that point you were

15     asking a then-president to do something you thought he could

16     legally do, and when he didn't do it and it was over, you

17     kind of went home?

18            A   Then we have to deal with what we have here.

19     We are.

20            Q   Okay.

21                At some point in the future, May 2021, a few

22     months later, did you get contacted by the FBI?

23            A   We were in Lubbock because Kellye was a legal

24     observer for a special election and I was there to protect

25     her.   And I was also there to network with the people she's
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1      meeting with.    We met the night before with the local

2      activists and I was going to start an Oath Keepers chapter

3      in Lubbock.

4           Q     Okay.

5           A     So we were there for that purpose.

6                 And then we walked out and over to our hotel and

7      then there they were, waiting to talk to us.

8           Q     Did they call you ahead of time?

9           A     No.

10          Q     When you say "there they were," who was they?

11          A     Agent Palian and then also agent from Montana.

12          Q     Mark Seyler?

13          A     Yes, that's correct.

14          Q     And had you known Mark Seyler for several years?

15          A     Yes, I'd talked to him before.         He had asked for a

16     sit-down a few years before that, because he was in

17     Kalispell, and I went and sat down with him with two other

18     Oath Keepers because I wanted witnesses, because I didn't

19     want anyone thinking I was becoming a snitch or anything.

20     So I was very open about it, hey, I'm going to go meet with

21     this guy and talk to him.      So I brought two guys with me.

22          Q     Okay.

23                So would it be fair to say you and Mark Seyler

24     over the three, four, five years leading up to May 2021 had

25     had a few conversations?
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1           A      That's correct, yeah.     A friend of mine had been

2      arrested and left me with his vehicle and want me to take

3      possession of his firearms, unrelated to Oath Keepers, and

4      then Mark Seyler was coordinating with me to pick up the

5      firearms.    Eventually we gave them to somebody else, but we

6      communicated.

7           Q      So you could reach out to him and he could reach

8      out to you?

9           A      That's correct.

10                 And he reached out to me during the Malheur

11     occupation, when Aaron Bundy took over the Malheur Wildlife

12     Refuge, and he wanted to know if we were going to be

13     involved in that, and I said, no.

14          Q      Why weren't you going to be involved in that?

15          A      Because that was aggressive instead of defensive.

16          Q      Okay.

17                 At some point on that day in May, did you

18     interview with them or talk to them for a couple hours?

19          A      Yeah, it was May 3rd, I believe.           We walked up and

20     I saw Mark and said, hey, we're not here to arrest you,

21     we're here to talk to you and get your phone, we have a

22     warrant for your phone.      And so I said, okay, that's cool.

23                 We just talked.

24          Q      Okay.

25                 And did they, did you tell them you were armed?
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1           A     Yes, I did.    Of course, Mark expected that.

2           Q     Yeah.

3           A     Yeah.

4                 And I had also had a weapon in a backpack.

5      I said, hey, man, I've got my pistol on me and there's also

6      a weapon in this backpack.      He said, that's cool.        Let's put

7      the backpack down and we just talked.

8           Q     Did they didn't frisk you or anything like that?

9           A     No, no.

10          Q     Was it a friendly conversation?

11          A     Yeah, it was cordial, yeah.

12          Q     You learned later it was recorded and there's a

13     transcript of it we've looked at?

14          A     Yeah, he kept saying, I'm sorry, man, I'm not

15     trying to kiss you, I'm just hard of hearing.           I was like,

16     okay, he's probably got a bug on him.         I figured he was

17     recording me, but I didn't care.

18          Q     Did they ask for your phone?

19          A     Yes.

20          Q     And did you give it to them?

21          A     Yes.

22          Q     Did you give them the log-in code to --

23          A     Yes.

24          Q     -- do it?

25                And did they then give it back to you a few weeks
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1      later?

2           A     Yes.

3           Q     Okay.

4           A     Yeah, Agent Moore gave it to back to me in the

5      parking lot at a Bank of America.

6           Q     You had hundreds and hundreds of Signal chats on

7      your phone when you gave it to him?

8           A     Yes, at least, right.

9           Q     Okay.

10                Could you have deleted the Signal app and all

11     those?

12          A     Oh, sure, if I wanted to.

13          Q     You didn't do that?

14          A     No.    I made a point not to.

15          Q     Okay.

16          A     Yeah.

17          Q     There was a point where, back in January, where

18     Ms. SoRelle, Kellye SoRelle, sends out some kind of chat

19     telling everybody to delete everything and to do all that

20     and says that that came from you.

21          A     Right.

22          Q     Did you tell her to do that?

23          A     I told her to tell them to use their right to

24     remain silent and stop blabbing their mouths off.            That's

25     what I wanted them to do.
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1             Q    Okay.

2             A    She added on her own to delete things, and I

3      disagree with that.

4             Q    Okay.

5             A    Because I told them, Don't delete anything.

6             Q    Okay.

7             A    Because you'll be accused of -- we had a

8      disagreement on this.     I said, If they delete stuff, they'll

9      be accused of destroying evidence.

10                 She said, No.    You have no implication because no

11     one's been notified.     There's a preservation order, and

12     no one's been indicted yet, so no one has a duty to retain

13     anything.    So she just took it upon herself to add that text

14     to the message.

15            Q    Okay.

16            A    That was not from me.

17            Q    I want to ask you some questions about the other

18     co-defendants that are seated here in the courtroom with

19     you.   As far as Mr. Caldwell goes, did you know he was even

20     in D.C. on that day?

21            A    No, I did not.

22            Q    Okay.   What was your connections to Mr. Caldwell

23     leading up to January 6th?

24            A    We had met at the small, rural Stop the Steal

25     protest in early November, like right after the election.
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1      And we had met there, and he was a local landowner.

2                 I spoke at that event.       He spoke at that event.

3      And he said, Hey, I've got a farm you could use if you want.

4                 I let him know we were going to be coming up to do

5      the D.C. rally.    And he agreed to let us stay at his farm.

6           Q     Okay.   Did you -- was it a surprise to you to

7      learn in court during this trial that he was communicating

8      with a couple of other groups about joining their groups of

9      Oath Keepers?

10          A     A surprise to me?

11          Q     Yeah.

12          A     I didn't know it was happening.          So, yeah, in that

13     sense, it was a surprise.

14          Q     And you didn't know he was going to be there on

15     January 5, 6?

16          A     No.

17          Q     Did he go to the Olive Garden dinner with you guys

18     afterwards?

19          A     No.

20          Q     Okay.

21                So you had idea no idea he was there?

22          A     Yeah.   We -- in fact, he wasn't with us in

23     December either.       So November was the last time I saw him.

24          Q     The Million MAGA Rally?

25          A     That's correct.
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1           Q     When y'all used his farm?

2           A     Right.

3                 He also helped us plan a ride in as far as

4      avoiding traffic.      And he was a lead vehicle to bring us in,

5      the guys who were doing the general escort detail.

6           Q     Okay.

7           A     So that's it, though.

8           Q     Okay.

9           A     Yeah.

10          Q     What about Kelly Meggs; how do you know

11     Kelly Meggs?

12          A     Well, he'd been with us in our Florida chapter,

13     and he'd been with us in D.C. prior, too.

14          Q     Now, did he take over the Florida chapter from

15     Mike Adams who testified in here earlier in the trial?

16          A     Yes, he did.

17          Q     Okay.

18                Do you remember, was that kind of in the December

19     time frame leading up to January 5, 6.

20          A     Yeah.    Yes, it was.

21          Q     Had you known Kelly Meggs before?

22          A     Yes.

23          Q     How long had you known Kelly Meggs?

24          A     Well, he was with us in Louisville.

25          Q     Okay.
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1           A     So him and Kenny also.

2           Q     Okay.

3           A     And they've done a great job there.           So did

4      Jessica; she did a really good job as well.

5           Q     When you say "Kenny," are you talking

6      Kenneth Harrelson?

7           A     Yes, sir, that's correct.

8           Q     And Jessica, who's seated here?

9           A     That's correct.

10          Q     And Louisville is the one that the jurors saw the

11     video of when you guys were in that parking lot?

12          A     Right.

13          Q     And standing around being calm while y'all are

14     being verbally accosted?

15          A     Right.      One thing the videographer did not even

16     notice because he was too busy talking is that Whip and I

17     were talking to the young men that had guns.            And they had

18     guns in their waistbands.       But Whip, when he explained to

19     them that, Hey, we agree with you; the Breonna Taylor

20     shooting was wrong.

21          Q     Okay.

22          A     And that helped them kind of understand, Okay,

23     they're not really against us; they really are just here to

24     protect this gas station and this pawnshop.

25                So they kind of dialed back on their -- on their,
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1      you know, kind of their animosity.        And we had no issues

2      with them at all.      There was no issues at all with them.

3      They -- never, ever came back there again and tried to do

4      anything.

5           Q      Okay.

6           A      I think it's important for folks to know.

7           Q      Okay.

8                  Was it your belief, back in November of 2020 and

9      still your belief today, that that election was an

10     invalid election?

11          A      Yes, unconstitutional.     And, also, I believe it

12     was fraudulent.

13          Q      Okay.

14                 Based on the Article II stuff that we talked about

15     and the state changing their laws the way that -- several of

16     the states changing the laws the way they did?

17          A      Violating the laws.

18          Q      Yeah.

19          A      I thought it was illegal and unconstitutional.

20     Can be legal under state law but unconstitutional under the

21     federal Constitution.

22          Q      Okay.

23                 Was it your belief then and still today that your

24     urging President Trump to invoke the Insurrection Act was a

25     perfectly legal thing for you to ask him to do?
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1           A     Yes.

2           Q     Okay.

3                 We saw a video -- the government played a video.

4      I think it Hageman news video, and there is a guy named

5      Sam Andrews on there --

6           A     Right.

7           Q     -- talking about everybody needs to start heading

8      to D.C. on January 2nd and 3rd and bring your guns and

9      travel in large groups.

10                You saw that video?

11          A     Yes, I did.

12          Q     Was that in any way related to you or

13     Oath Keepers?

14          A     No.

15          Q     Okay.

16          A     I mean, Sam Andrews had been a member way back

17     when, but we had -- he had split from us under -- under

18     bad terms.

19          Q     Okay.

20          A     So -- but, no, not since 2014.         I never even heard

21     of him again until I was sitting here watching that video.

22          Q     Okay.

23          A     Yeah.

24          Q     So his rhetoric of telling people, Everybody needs

25     to get armed; everybody needs to travel in big groups;
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1      everybody needs to go to D.C. with firearms, that was not

2      authorized by you?

3           A     No.

4           Q     Told to him by you?

5           A     No.

6           Q     Or anything else like that?

7           A     Not at all.    He's an idiot.

8           Q     And he's not involved in the current Oath Keepers?

9           A     No.   No.

10          Q     Okay.

11          A     No.

12                MR. LINDER:    Your Honor, could we get on the

13     phones real quick?

14                (Bench conference)

15                MR. LINDER:    I want to wrap it up here in a few

16     minutes, but I need to talk to my co-counsel to see if

17     there's a couple of exhibits I need to put in.             Can we take

18     a quick morning break.

19                THE COURT:    Sure.    Let's go ahead and do that.

20                (Open court)

21                THE COURT:    Okay.    Ladies and gentlemen, we have

22     come to our morning break.       I think we're going to need a

23     little bit longer this morning than usual.             So why don't we

24     plan to resume at 11:20.      We'll see you all very shortly.

25                Thank you very much.
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1                 COURTROOM DEPUTY:     All rise.

2                 (Jury exited the courtroom.)

3                 THE COURT:    All right.    Why don't you step

4      on down.

5                 Have a seat, everybody.

6                 So why don't we start off with the disclosure

7      issue from Friday.

8                 Ms. Rakoczy, Mr. Nestler.

9                 MS. RAKOCZY:     Yes, Your Honor.

10                We disclosed four emails on Friday to the defense

11     that were authored by a Special Agent who initially had been

12     investigating Mr. Rhodes named Mark Seyler.            We on the

13     prosecutor's side had not had those emails prior, and we

14     thought they touched upon subjects that we had both

15     previously disclosed and that were relevant to the

16     investigation more broadly.      So we disclosed those.

17                Two of the-e mails discuss an effort Mr. Rhodes

18     made to try to get his open letters to President Trump

19     through a woman who was involved with the Oath Keepers, a

20     donor to the Oath Keepers, who had a son who I think was

21     doing something at the White House around the time of

22     December of 2020.

23                So law enforcement has interviewed that person.

24     I think there were two interview 302s that were disclosed

25     probably last winter or spring in regular discovery.             She
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1      denied ever actually making any efforts to provide those

2      letters.

3                 What we found on Friday were two emails where

4      Special Agent Selyer discussed efforts to try to run down

5      that information and try to determine, through the

6      White House -- through Secret Service, I think, whether

7      those letters were delivered.

8                 But we know from the source, from the interviews

9      from the woman who we actually tried to utilize to transit

10     those letters, that she never delivered them.           So that

11     information has been with the defense for probably six to

12     eight months at this point.

13                There's really no new information there.            We just

14     thought that since that touched upon it, we would

15     disclose it.

16                THE COURT:    Does the government intend to use the

17     contents of those emails in any way?

18                MS. RAKOCZY:     I don't anticipate with those

19     emails, so those are two of them.

20                There's one where the Special Agent discusses sort

21     of the state of things he's observing in the late 2020 time

22     period with respect to Mr. Rhodes; and he's seeking some

23     counsel on what to do with that information, whether to

24     further the investigation or whatnot.

25                We don't plan on doing anything with that email.
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1      We disclosed that really solely because I think Mr. Rhodes'

2      attorneys have at various points in time indicated

3      consideration for calling Special Agent.          So we want to make

4      sure they knew about that.

5                 And then I think the only email that the

6      government might consider using is that the Special Agent in

7      one of the emails is describing information he learned that

8      Mr. Rhodes was thinking about going to the area of Portland,

9      Oregon, and Vancouver, Washington, around the September 2020

10     time period.

11                And according to the information that

12     Special Agent Seyler was hearing, Mr. Rhodes was going to

13     try to bait Antifa and BLM types into Vancouver, Washington,

14     to try to sort of start some conflict, and then they would

15     have firepower, and they would be able to fire upon them.

16                That information has previously been disclosed to

17     the defense, that Mr. Rhodes was considering going out to

18     Vancouver, Washington, that there was some kind of --

19     somebody affiliated with the broader "patriot movement" had

20     been killed and there was a lot of aggravation and anxiety

21     about that death.

22                That person had been killed during a protest-type

23     event.   And so the fact that Mr. Rhodes was considering

24     going out there for that event has already been disclosed,

25     and I think even the fact that he was thinking about
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1      publicizing it on the Alex Jones Show had been disclosed.

2      I think this email puts a little bit of a finer point on

3      what Mr. Rhodes was intending to o out there and that is

4      something we might cross-examine on since the defense has

5      asked numerous questions about the Oath Keepers' alleged

6      peaceful efforts throughout the country and throughout time.

7                 THE COURT:    Okay.   So is there any objection to

8      what you all have heard, and using the one minor fact or the

9      one alleged fact that Ms. Rakoczy has just floated, because

10     I did think that had been disclosed maybe by my own order or

11     something else.

12                MR. WOODWARD:     What I heard, Your Honor,

13     Ms. Rakoczy just say is that they disclosed evidence

14     concerning some consideration of a plan to go to

15     Oregon/Seattle, but that I think she described it as a

16     salient fact, the fact of Mr. Rhodes' purported intent to

17     lure people out of Seattle for the purpose of using violence

18     against them.    That's a fact I believe that had not been

19     previously disclosed.

20                The email correspondence that the government

21     produced to us was actually Saturday afternoon at 4:00.

22                THE COURT:    Look, I think the question is, has the

23     fact of Mr. Rhodes' intent to -- because, frankly, hearing

24     this, it's not news to me, so I've heard it somewhere along

25     the way, maybe it's in something I reviewed in camera,
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1      I don't recall, but, you know, is that a new fact to the

2      defense?   Mr. Linder?

3                 MR. LINDER:    The Vancouver?

4                 THE COURT:    Correct.

5                 MR. LINDER:    It's new to me.      It may have been in

6      some of the CHS stuff.      I don't have any notes from that.

7      We had to view it and take notes and leave when we got it.

8                 But I don't think it's relevant to this either.

9                 THE COURT:    Well, I'm not sure I agree with that.

10                MR. LINDER:    It has nothing to do with J6.

11                THE COURT:    Well, he's been asked a lot of

12     questions about things that have nothing to do with J6.

13                MR. LINDER:    Yeah, but it's all related in some

14     way.

15                This is something completely different.

16                THE COURT:    Well, you have asked open-ended

17     questions, in any events in what the Oath Keepers have

18     participated in, has there ever been any run-in with the law

19     or use of force.

20                MR. LINDER:    I agree.

21                MR. WOODWARD:     My concern, Your Honor, is that we

22     have an email from September 3rd, 2020, right,

23     so this evidence has been in the government's possession for

24     over two years.

25                THE COURT:    Well, I'm trying to understand a
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1      different question, Mr. Woodward, which is, has this been

2      disclosed in some other form or fashion.           That's my

3      question.

4                  MS. RAKOCZY:    Your Honor, it might just be easier

5      for us to look over the actual disclosures that have been

6      made on this topic.      I doubt we would Cross before lunch.

7                  THE COURT:    Why don't you take a look, because as

8      I said, and maybe I'm misrecollecting.          I feel like I've

9      seen that before, and it may have been in something you all

10     gave to me, and I think I required it to be disclosed,

11     because I was pretty expansive in my thinking of what needed

12     to be disclosed or not to the defense from the confidential

13     human source information.      So that might be a place to look.

14     And so if it's been disclosed in some other form, then

15     I think the prejudice concerns are obviated.            But if it

16     hasn't been, then I would probably have a different view.

17                 MR. WOODWARD:    Okay.

18                 I mean, but, again, we reiterate our request for

19     materials concerning the Oath Keepers.          The email

20     correspondence the government disclosed to us on Saturday

21     makes clear that Special Agent -- that members of the FBI

22     are -- they have -- the email says, on November 4th, 2022,

23     "another email that may be helpful per our earlier

24     discussion."

25                 So the FBI is clearly having internal discussions
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1      about Oath Keepers related materials.            Whether the

2      information had been provided before, we know these emails

3      had not previously been disclosed to us.

4                  THE COURT:    I guess, let me say this, which is, in

5      the ordinary course, an FBI agent talking to another FBI

6      agent or an email between FBI agents is not discoverable,

7      right?

8                  I'm not sure why the government felt the need to

9      do this.    Perhaps it's because they were potentially -- they

10     had heard you all were potentially calling this agents;

11     I don't know what the motive is.          But if you think there's

12     something that has not been disclosed that is manifest from

13     those emails, then ask the government for it.              And if they

14     refuse to produce it, then I'll ask them to do so, if

15     there's something there.

16                 MR. WOODWARD:    Okay.

17                 The last piece of evidence that was disclosed to

18     us that Ms. Rakoczy did not address has to do with the

19     confidential source.      And --

20                 MS. RAKOCZY:    If we're discussing this, I'd ask it

21     not be on the public record.

22                 MR. WOODWARD:    Right.

23                 THE COURT:    What about cross-examination by

24     defense counsel, Mr. Rhodes?          What is the intention, seeing

25     how he seems to be wrapping up?
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1                  MR. WOODWARD:    I think we'll be very brief.

2                  THE COURT:    Anyone else?

3                  MR. FISCHER:    Not at this point for Caldwell.

4                  MR. GEYER:    Very brief.

5                  THE COURT:    I will say that, I mean, I looked at

6      those cases again last night in anticipation of this issue,

7      and it's not clear to me that Mr. Rhodes has provided any

8      testimony that's inculpatory of any other defendant.              And,

9      in fact, his has decidedly avoided doing so.            So I'm not

10     quite sure what the basis of the cross-examination is going

11     to be.

12                 MR. WOODWARD:    Ours is going to be focused on his

13     statement that Mr. Meggs went off mission and what that

14     meant.

15                 THE COURT:    Okay.

16                 MR. WOODWARD:    We disagree.

17                 THE COURT:    You disagree that he went off mission.

18                 MR. WOODWARD:    (Counsel nods.)

19                 THE COURT:    Okay.

20                 MR. WOODWARD:    And, yeah, and Mr. Rhodes testified

21     that Mr. Meggs went into the building.          That by itself is

22     inculpatory.

23                 THE COURT:    I'm not so sure it is.

24                 That's not in dispute; in other words, Rhodes

25     wasn't being called as a witness against these defendants to
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1      establish that they were in the building.

2                  Mr. Geyer, what's your intention and basis?

3      Because Mr. Harrelson was hardly even mentioned.

4                  MR. GEYER:    Well, it's come to our attention that

5      Mr. Andrews was on location on the 6th, and I'd like to ask

6      Mr. Rhodes if he was aware of that and if he can identify

7      Mr. Andrews, who is in multiple locations around the camp.

8                  THE COURT:    Is there any objection to Mr. Geyer

9      asking those questions?

10                 MS. RAKOCZY:    No, Your Honor.

11                 THE COURT:    Okay.

12                 Anyone else?

13                 All right.    Anything else we need to take up

14     before we break?

15                 MR. CRISP:    Nothing for the group.        Can I just

16     approach in this unrelated to this real quick when we're off

17     the record.

18                 THE COURT:    Sure.   We've got this other issue to

19     deal with in-camera.

20                 MR. WOODWARD:    I think it just will depend whether

21     the government intends to use the information.            If they

22     don't, then it's not an issue.        They may have been

23     disclosing to us out of an abundance of caution.

24                 THE COURT:    Is this a recent disclosure or

25     previous disclosure?
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1                  MR. WOODWARD:    Saturday.

2                  THE COURT:    Well, why don't you talk to them about

3      it and then we'll figure it out?

4                  Mr. Crisp, why don't you come on up.           Everybody

5      else, take your break, and we'll resume around 11:25, so

6      everybody has 15 minutes.

7                  DEPUTY CLERK:    This Honorable Court stands in

8      recess.

9                  (Recess taken from 11:10 a.m. to 11:29 a.m.)

10                 THE COURT:    Please remain seated, everybody.

11     Thank you.

12                 Mr. Rhodes, why don't you come on back up.

13                 COURTROOM DEPUTY:     Jury panel.

14                 (Jury entered the courtroom.)

15                 THE COURT:    All right.     Please be seated,

16     everyone.

17                 Welcome back, everybody.

18                 Mr. Linder, ready when you are.

19                 MR. LINDER:    Yes.   Thank you.

20     BY MR. LINDER:

21           Q     Mr. Rhodes, you realize you're still under oath

22     after coming back from the break?

23           A     Yes.

24           Q     Okay.

25                 Just a few more questions for you.
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1                  Would it be safe to say that when you were there

2      on January 6th outside the Capitol, that you couldn't see

3      what was going on inside?

4            A     No, not at all.

5            Q     Did you have any idea of just kind of the melee

6      and all the looked like that was going on that we've since

7      seen in video?

8            A     No, I couldn't see -- like I said earlier, I could

9      not even see down below on the west side.              I had no idea

10     that anyone had broken in or were assaulting officers or

11     anything else that was going on.        I saw it later on videos.

12           Q     In the months since then, in watching the videos

13     and hearing the news accounts and realizing that a woman

14     lost her life --

15           A     Oh, I knew that that day actually, yeah.

16           Q     Okay.

17                 And later some officers took their own lives, how

18     do you feel about what went on inside the Capitol that day?

19           A     Well, that was horrific.

20           Q     You would never have condoned that, would you?

21           A     No, not at all.

22                 I think that anybody who actually did assault a

23     police officer should be prosecuted for it.

24           Q     Okay.

25                 You work hand in hand with law enforcement all the
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1      time; is that correct?

2            A     All the time, that's right.

3            Q     And that's why you recruit first responders in law

4      enforcement?

5            A     That's right.    We have placed about 30 percent of

6      our guys are cops.      So we have an absolute zero tolerance

7      for anyone putting hands on a police officer, unless you're,

8      like, saving someone's life like with the George Floyd

9      killing.    That's where I would say it was justified, shove

10     them off, but other than that, absolutely not.

11           Q     So you don't condone any of those activities that

12     went on inside the Capitol that day, do you?

13           A     No, I don't, including what Josh James did, that's

14     correct.

15           Q     All right.

16                 MR. LINDER:    Mr. Rhodes, thank you.

17                 I'll pass the witness.

18                 THE WITNESS:    Okay.

19                 THE COURT:    Okay.   Mr. woodward.

20                 MR. WOODWARD:    Yes, sir.     You thought I was good

21     with technology with two hands.

22

23

24

25
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1                                      - - -

2                               CROSS-EXAMINATION

3      BY MR. WOODWARD:

4            Q     Mr. Rhodes, you testified on direct that -- well,

5      let me back up.

6                  When did you first meet Kelly Meggs?

7            A     I believe I first met Kelly for the Louisville

8      operation in person, I believe that's correct.

9            Q     Had you spoken with him before the Louisville

10     operation?

11           A     I think we had talked on the phone, along with all

12     the other guys from Florida, because they would do group

13     calls and I would come on once in a while.

14           Q     He's not former military?

15           A     No, he's not.

16           Q     Not former law enforcement?

17           A     No.

18           Q     But you had no concerns about him being a member

19     of the Oath Keepers?

20           A     No.   We take associate members, folks that are not

21     prior Service, because I am a firm believer that all

22     Americans should be encouraged to become part of the

23     community.

24                 And so what we do is we encourage them to become

25     an EMT or reserve police officer or a volunteer firefighter,
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1      and then we give them full membership.

2            Q     And so when Mike Adams advised that he was going

3      to step down or step away from his role in the Oath Keepers,

4      you didn't hesitate about tapping Kelly Meggs to lead the

5      Florida chapter of the Oath Keepers?

6            A     No, because he had been in Louisville and done a

7      really good job.

8            Q     And so the Florida chapter of the Oath Keepers,

9      where did that rank as far as the size of the various

10     chapters of the Oath Keepers?

11           A     They all ebb and flow over time.           But at that

12     time, it was one of our better chapters, one of our bigger

13     chapters.

14           Q     One of the largest chapters of the Oath Keepers in

15     December, January 2020, 2021?

16           A     I would say starting around the time of

17     Louisville.

18           Q     So it wasn't an insignificant role that you had

19     placed Mr. Meggs in?

20           A     No, it was not insignificant.

21           Q     Is it also true you began participating more in

22     the chats and calls that the Florida chapter of the

23     Oath Keepers because having?

24           A     Yes.   We had a lot more activity going on, and we

25     were trying to rebuild the Florida chapter.            So, yes, that's
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1      correct.

2            Q     You testified that on January 6th, Mr. Meggs went

3      off mission.

4            A     Well, they all did, right.

5            Q     Well, let's talk specifically about Mr. Meggs,

6      that Mr. Meggs went off mission.

7            A     It was not part of our mission for that day, part

8      of our plan, to enter the Capitol for any reason.

9            Q     Well, could you remind the ladies and gentlemen of

10     the jury about the mission of the Oath Keepers generally.

11           A     Okay.      So on general, our mission is to defend the

12     Constitution.     But we also, of course, when we're doing

13     everything else we're doing with disaster relief or security

14     operations, you know, we do our very best to render medical

15     aid -- we did all the time -- and also to assist law

16     enforcement whenever they're -- wherever needed.

17           Q     And so you first met Mr. Meggs at the

18     Louisville op.      What was the mission there?

19           A     To protect a gas station, two pawn shops owned by

20     the same owner, and a third business with a family living

21     above it.

22           Q     And I believe you also testified that Mr. Meggs

23     participated in the MAGA March in November, correct?

24           A     Correct.

25           Q     What was the mission for that?
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1            A     That was the general escort mission, but also

2      escorting the ladies who were afraid to speak in D.C.

3      without an escort.

4            Q     And you also obviously are aware that Mr. Meggs

5      participated in January 6th.          How would, in your words,

6      would you describe the mission on January 6th?

7            A     To protect the event on Capitol Grounds in

8      Area 8 -- that's Ali Alexander's permitted event right there

9      at the northeast corner of the Capitol Grounds -- and to

10     escort those speakers and their family from The Ellipse to

11     the Area 8 rally.      That was their mission that day.

12           Q     All right.    So if I could show you what has

13     previously been introduced into evidence as KM-46, would you

14     disagree that part of the objective was to protect those in

15     the building from violence?

16           A     Well, the general mission that day was -- there's

17     particular missions; then there's the general mission.                And

18     the general mission was to escort and watch over Trump

19     supporters to protect them from violence in the streets.

20                 But there was no planning for entry into the

21     Capitol.

22                 MR. WOODWARD:    The Court's indulgence.

23     BY MR. WOODWARD:

24           Q     Now, you can see a message.          Any reason to

25     disagree that this is a message sent to the
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1      "OK Florida Hangout" chat, quote, "We need to secure the

2      objective and protect those in the building from violence."

3                  This person follows up, "Including members and

4      staff."

5                  Was part of the mission also to protect members

6      and staff, specifically those members and staff who had

7      asked for security escorts that day?

8            A     Can I see the first screen?

9                  Secure the objective.      I disagree with that.

10     I don't think -- there's no -- we had no mission to secure

11     the objective.     There was no objective that day.          If this is

12     talking about the Capitol, that was not our objective.

13                 So to secure that.

14           Q     Was part of the objective to protect those in

15     build once they had been subjected to violence?

16           A     There was no plan to enter the building for any

17     purpose.    So there couldn't be an objective to do anything

18     inside the building.

19                 Now, there were what you could call standing

20     orders within Oath Keepers to render medical aid where

21     needed and to assist law enforcement where needed.             That's

22     what you call standing order.

23           Q     Well, let me ask you.      You've been in the trial

24     the whole time, you've seen all the video.

25           A     Right.
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1            Q     You've seen the video of Officer Dunn --

2            A     Yes.

3            Q     -- and Mr. Meggs.

4                  Would you disagree that Mr. Meggs is standing

5      somewhat docilely in front of Officer Dunn?

6                  MS. RAKOCZY:    Objection; calls for speculation.

7                  THE COURT:    Sustained.

8      BY MR. WOODWARD:

9            Q     How would you describe Mr. Meggs' stature in that

10     video?

11                 MS. RAKOCZY:    Objection.

12                 THE COURT:    Sustained.

13     BY MR. WOODWARD:

14           Q     Did you watch -- did you have the opportunity to

15     see the video that I'm referencing?

16           A     Yes.   Correct.

17           Q     You're familiar with that video?

18           A     Yes.

19           Q     And would you disagree that the video depicts

20     Oath Keepers?

21                 MS. RAKOCZY:    Objection.

22                 THE COURT:    Sustained.

23                 The jury will make a determination as to that

24     video and what it depicts.      It's not for him to opine on it.

25
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1      BY MR. WOODWARD:

2            Q     Do you have any knowledge of Mr. Meggs engaging in

3      any violence inside the Capitol building on January 6th?

4            A     No.

5            Q     Doing anything to stop the certification of the

6      Electoral College?

7            A     No, no knowledge of that.

8                  MR. WOODWARD:    No further questions.

9                  THE COURT:    Okay.    Mr. Geyer.

10                                       - - -

11                              CROSS-EXAMINATION

12     BY MR. GEYER:

13           Q     Hello, Mr. Rhodes.

14           A     Hello.

15           Q     You mentioned Sam Andrews.

16                 You mentioned Sam Andrews?

17           A     Yes, sir.

18           Q     What was the nature of your relationship?

19           A     We didn't have a relationship.

20                 I mean, are you talking about how I met him or --

21           Q     Yes.

22           A     So he was living not too far from Ferguson,

23     Missouri, when the riots in Ferguson, Missouri, erupted

24     after the shooting of Michael Brown.

25           Q     Would year would that have been?
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1            A     That's 2014.

2            Q     Did you have some level of collaboration with him

3      at that time?

4            A     He assisted.    He was not in charge of our detail

5      there.    He assisted as one of the local guys.          But he had an

6      out-of-control ego that just wouldn't stop.            And so he would

7      refuse to take direction from us and so we parted ways.

8            Q     Was it an acrimonious falling out?

9            A     Yes, it was.

10                 He -- we agreed, after the Ferguson operation,

11     that's where we protected Natalie's Cakes and More, the

12     black-owned bakery, and all of her neighbors.            There was an

13     Asian restaurant there, Korean-owned beauty supply store,

14     and then there were apartments above the shops with families

15     in them.    We were on the rooftop with rifles protecting that

16     entire complex.

17                 It was a successful operation.         Everything was

18     good to go.

19                 But after that, we had been talking to some of the

20     local black veterans about their responsibility to patrol

21     their own neighborhoods, and some of them said, Well, if we

22     were to go walking down the street like you guys did with

23     guns, we would have been shot.

24                 Well, we said, Well, that's kind of a fair point,

25     so let me just go ahead and organize an armed march of you
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1      locals to go and -- well, actually, I'm not sure that's

2      true.     But it's a fair concern.     So let's go ahead and

3      organize an armed march.      And I agree with that.

4                  And Sam was going to spearhead that.

5                  But then he started talking in terms that were

6      very confrontational, like, towards the police.            And I said,

7      That's not what we're supposed to be doing.            That's going

8      too far, like saying inflammatory language about using force

9      against law enforcement.      That's not what it's about.

10                 It's about them exercising their right to

11     peaceably assemble armed like they've seen white people

12     doing and being able to do the same thing.

13                 And I agree with that, but his language got too

14     confrontational.

15                 I said, Look, man, you need to dial it back and

16     just -- dial back the rhetoric a little bit.            Ironically,

17     I'm telling this guy to dial back the rhetoric.

18                 But he said -- he got upset about that.           He said,

19     Well, you shouldn't be trying to micromanage what I'm doing.

20                 I'm like, Look, I'm not trying to micromanage it.

21     I just don't want you crossing the line because we are a law

22     enforcement organization.      We don't want to cross the line

23     towards threatening law enforcement.

24                 And that's when he got pissed off and left.

25           Q     And since that time, had you had any
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 116 of 207

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1      communications with him?

2            A     No.    Zero contact.

3            Q     The government played, I believe, two videos of

4      him operating on TV.      And I believe Mr. Woodward played --

5      it was either one of their videos or perhaps one that he

6      found from late 2020.

7                  Did you have any awareness that he was having that

8      kind of public relations image at that point?

9            A     Not at all.    I didn't know about that until we saw

10     it here in the courtroom.

11           Q     Did your relationship allow you to have an

12     awareness about what his appearance is?          Do you know what he

13     looks like?

14           A     Yes.   From way back when, yeah.

15                 MR. GEYER:    I have three exhibits that are just

16     CCTV videos, Your Honor.      I'd like to move that they be

17     admitted into evidence for judicial economy.            I've marked

18     them H-20, which is 3187 QNW00P circle that begins at

19     12:20:02 on January 6th.

20                 Also, H-103, which is 0762, First and Constitution

21     Avenue Northwest, which begins at 12:31.

22                 And then H-104, which is 0907_USCD_LAE Stone,

23     which begins at 1:30:14.      I'd like to do this for purposes

24     of seeing if we can confirm a witness identification.

25                 MS. RAKOCZY:    No objection as long as those clips
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1      aren't lengthy.

2                  MR. GEYER:    I'm going to keep it very short.

3                  Thank you, Ms. Rakoczy.

4                  THE COURT:    All right.      Those will be admitted.

5                             (Defendant's Exhibits H-20, H-103, H-104
                                               received into evidence.)
6

7                  MR. GEYER:    They can move the following three into

8      evidence and publish to the jury.

9                  I'm not going to go in time order, sir.             I'm going

10     to go in -- if it were a test, this would be the

11     easiest one.

12                 (Video played)

13     BY MR. GEYER:

14           Q     Emerging from the bottom left, there's almost like

15     a stairway, graduated steps.          You're going to see somebody

16     walking out in front of a group.

17                 Do you have any awareness as to who that might be?

18           A     Well, he's very tall, is extremely tall, so that's

19     consistent with his body gait.          It looks like him, but I

20     can't see the face, but I've seen him in clothing walking

21     and it looks like his walk, yeah.

22           Q     Now, he's facing us?

23           A     Yes.

24           Q     Can you identify that as Sam Andrews?

25           A     Well, I can't conclusively, because I can't see
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24   Page 118 of 207

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1      his face, but the body posture and the way he's standing is

2      consistent with him.

3                  The gentleman right there in the very middle with

4      the tan pants and the black body armor.

5            Q     Yes.

6            A     Okay.      Yes, if I can see the face, I could be more

7      sure.

8            Q     I'm going to go to the second exemplar.

9                  This is on 1st and Constitution Avenue, where you

10     may recall you've seen this video before in another video

11     presentation I made.

12                 (Video played)

13     BY MR. GEYER:

14           Q     About halfway up, stepping off the walkway now,

15     he's on the security barrier speaking to a police officer.

16                 (Video played)

17                 THE WITNESS:      Yes, I see him.     I mean he's got

18     facial hair now.        He didn't used to have facial hair.

19     BY MR. GEYER:

20           Q     I'm going to pause it.       Can you draw a circle

21     around him just for the record?

22           A     (Witness complied.)

23                 Right here.      That looks like him.

24           Q     Perfect.

25                 Do you recognize any others in his, I'll adjust
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24   Page 119 of 207

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1      call it his group or his posse or whatever that is?

2            A     Not yet.

3            Q     Okay.

4            A     No, I don't recognize them.

5                  But, yeah, I believe that's Sam Andrews.

6            Q     Okay.

7                  Here's the hardest one.

8                  This video begins at 1:36.        It's the east dome

9      camera facing on directly east.

10           A     This is facing --

11           Q     East.      It's on the Capitol Dome in front of the

12     east steps facing east.

13           A     Okay.

14           Q     With planters on the left and the right, with a

15     line of police in front.        Do you see that?

16           A     Uh-huh.

17           Q     And if you look at the police officer who's

18     closest to the bottom of the screen directly below him is

19     the Vice Presidential motorcade, and it's about 1:36 p.m.

20     Do you recognize this scene?

21           A     Only from the prior videos you've all been

22     watching because I wasn't there at that time.

23           Q     Sure.

24                 I'm going to go to 5:47.

25           A     I didn't get there until about 2:12, I think it
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 120 of 207

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1      was.

2             Q    This is admittedly a tough one.

3             A    Right.

4             Q    I'm going to put my cursor --

5             A    Yeah, there you go.

6                  (Video played)

7      BY MR. GEYER:

8             Q    If I pause that, would you be willing to draw a

9      circle around --

10            A    Right.

11            Q    It's unfortunately when you stop it, the visual

12     acuity diminishes.

13            A    Right.

14                 I see the same individual with the same people

15     with him, same little group.

16            Q    Okay.

17            A    Now we've lost him.

18            Q    Yeah, sorry about that.

19                 Here, I'll start again.

20                 (Video played)

21                 THE WITNESS:    There he is.

22     BY MR. GEYER:

23            Q    Can you draw a circle around him or an arrow or

24     something?

25            A    It looks like him, but he's got something on his
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 121 of 207

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1      chest that I didn't recognize from before.

2            Q     But in your best judgment based on your prior

3      experience in working with him for a period of years?

4            A     Well, from watching the prior footage of the guy,

5      I knew it was Sam Andrews.      Then watching this, it looks

6      like the same group in the crosswalk.

7            Q     Thank you very much.      No more questions.

8                  THE COURT:    Okay, Mr. Geyer, thank you.

9                  Mr. Crisp.

10                 MR. CRISP:    No.

11                 THE COURT:    Mr. Fischer.

12                 MR. FISCHER:    No cross.

13                 THE COURT:    Thank you, both.

14                 Ms. Rakoczy.

15                 MS. RAKOCZY:    Thank you, Your Honor.

16                                     - - -

17                               CROSS-EXAMINATION

18     BY MS. RAKOCZY:

19           Q     Good morning, Mr. Rhodes.

20           A     Good morning.

21           Q     Sir, you spent some time on direct examination

22     last week telling us about the founding of the Oath Keepers.

23     Do you recall that testimony?

24           A     Yes, ma'am.

25           Q     And I believe you claimed on direct examination
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1      that you found the Oath Keepers in response to the policies

2      of the Bush Administration; is that right?

3             A    In part.

4             Q    I couldn't help but notice that you didn't

5      actually found the Oath Keepers until April of 2009;

6      isn't that correct?

7             A    Yes, that's correct.

8             Q    And that was after President Bush left office,

9      right?

10            A    That's correct.

11            Q    That was after President Barrack Obama was

12     inaugurated?

13            A    That's right.

14            Q    Now, you formally launched the Oath Keepers in

15     Lexington, Massachusetts, in April of 2009; is that fair to

16     say?

17            A    Yes.

18            Q    I believe you said on direct that you chose that

19     time and place to commemorate a moment during the Adams

20     administration; is that right?

21            A    Yes, ma'am.

22            Q    You said it was some kind of a moment where

23     militia members gathered and said something to the effect of

24     we're going to renew our oaths to the Constitution and make

25     it clear to President Adams that we put the Constitution and
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 123 of 207

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1      the country first above political parties; is that right?

2            A     That's right.

3            Q     But that is not the reason you chose Lexington,

4      Massachusetts, as the site there your founding of the

5      Oath Keepers, is it?

6            A     I'm not sure I understand your question.

7            Q     You chose Lexington, Massachusetts, as the site

8      for launching the Oath Keepers because that is where the

9      shot heard 'round the world was fired that began the

10     American Revolution; isn't that correct?

11           A     No, it's because the veterans from that event went

12     back when they had a situation of the first two political

13     parties in the United States getting at each other's throats

14     and made it clear that they were going to be loyal to the

15     Constitution.     So I went up there to do an oath renewal

16     ceremony that copied what you did.

17           Q     Mr. Rhodes, you chose to launch the Oath Keepers

18     on April 19th of 2009, right?

19           A     Right.     That's the date that they also did their

20     oath renewal.

21           Q     And also the date of the shot heard 'round the

22     world, fair to say?

23           A     Of course, that's correct.

24           Q     Now, sir, you went on the Alex Jones radio program

25     to promote the founding of the Oath Keepers before that
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1      event, right?

2            A     Either before or after.

3            Q     And in promoting the event, you acknowledged to

4      Mr. Jones that the reason for choosing that site and that

5      date was to commemorate the shot heard 'round the world?

6            A     Well, in part, it's both.       It's the commemoration

7      of, like I said, what they did and, of course, it's also

8      what's known as Patriots Day, it's celebrated every year.

9            Q     You also promoted the event on your website; isn't

10     that right?

11           A     I think so.

12           Q     On the websites, you mentioned the shot heard

13     'round the world and not anything about this oath renewal

14     ceremony; isn't that right?

15           A     Possibly.

16           Q     Why don't we bring up on the screen what's been

17     marked as Government's Exhibit 9109, which is not in

18     evidence so we'll just show Mr. Rhodes.

19                 Sir, do you recognize what we're looking at here?

20           A     I do.

21           Q     This is the blog spot site that was the original

22     host of the Oath Keepers' website; is that right?

23           A     That's correct.

24           Q     And this is the advertisement for the April 19th,

25     2009, launch of the Oath Keepers, right?
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1            A     "Oath Keepers will muster on the Lexington Green

2      to renew our oaths to defend the Constitution.             Join us."

3                  Yes, it is.

4                  MS. RAKOCZY:    At this point in time the government

5      will seek to move Government's Exhibit 9109 into evidence.

6                  MR. BRIGHT:    No objection, Your Honor.

7                  THE COURT:    All right.     9109 is admitted.

8                                            (Government's Exhibit 9109
                                                 received into evidence.)
9

10                 MS. RAKOCZY:    If we could publish to the jury.

11     BY MS. RAKOCZY:

12           Q     Mr. Rhodes, the painting across the top of the

13     screen is a painting depicting the Battle at Lexington in

14     April of 1775; is that fair to say?

15           A     Correct.

16           Q     Okay.

17                 And that's what you were touting on the screen

18     when you were advertising that the Oath Keepers launch was

19     impending, right?

20           A     Pardon me?

21           Q     That's what you put at the top of the screen when

22     you were promoting the launch of the Oath Keepers that was

23     coming up on April 19th, right?

24           A     Correct, that's a famous painting of the battle.

25           Q     Okay.
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1                  There's no one renewing oaths in that ceremony,

2      right?

3            A     But there is a title, "Oath Keepers will muster on

4      the Lexington Green to renew our oath to defend the

5      Constitution.     Join us."

6            Q     That's what you were going to be doing on April

7      19th, correct?

8            A     That's correct.

9            Q     And if we could play on the screen, now, if we

10     could bring up just for the witness Government's Exhibit

11     9108, the video.

12                 Just for the witness, if you could just hit

13     play -- well, let me pause for a second.

14     BY MS. RAKOCZY:

15           Q     Sir, do you see -- do you recognize anyone on the

16     screen here?

17           A     Yes, I do, a much younger version on myself.

18           Q     Okay.

19                 And this is -- that's generally -- this is from

20     when you went on Alex Jones to promote the event, the launch

21     of the Oath Keepers?

22           A     I haven't heard the audio I just see the picture.

23           Q     Okay.      Let's listen to the audio.

24                 If we can press play.

25                 (Audio played)
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1      BY MS. RAKOCZY:

2            Q     So, sir, that's what you said on the Alex Jones

3      Show before the launch of the Oath Keepers, right?

4            A     In part.

5            Q     Okay.

6                  So it's fair to say from its outset, the Oath

7      Keepers took a tone of forcible opposition to the

8      government; isn't that right?

9            A     No, that's not correct.

10           Q     Okay.

11                 Since its founding, sir, your group has

12     participated in a number of armed confrontations with

13     government forces; isn't that right?

14           A     I wouldn't characterize them armed confrontations.

15           Q     Well, in 2014, you sent the Oath Keepers to Nevada

16     to assist a rancher named Cliven Bundy in opposing

17     government forces who had been court-ordered to seize cattle

18     grazing on public land, right?

19           A     We sent them to protect his family from being

20     "Wacoed."    And we made it clear that if there was a lawful

21     arrest warrant or search warrant, we would not oppose.

22           Q     And there was a court order permitting the Bureau

23     of Land Management authorities to seize cattle from public

24     land surrounding the Bundy ranch; isn't that right?

25           A     Yes, and they did so.
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1            Q     And the government was trying to enforce that

2      order, correct?

3            A     I believe they'd already seized the cattle.

4                  It was -- our concern was the family.          We didn't

5      care about cows.

6            Q     Well, sir, you bragged afterwards about having

7      Oath Keepers men with rifles in positions watching over the

8      Federal Government; isn't that right?

9            A     We had been watching over the entire situation.

10     But we did not know they were going to go back and seize

11     their own cattle back.      We had no idea it was going to

12     happen.    It caught us by surprise.

13           Q     And, Mr. Rhodes, you bragged about purchasing and

14     supplying those going for the mission with over 100 AR-15

15     rifle magazines; isn't that right?

16           A     We supplied guys who were there for a couple weeks

17     with some magazines and also food, yeah.

18           Q     And night-vision goggles as well?

19           A     I supplied those for the use of the operation and

20     took them back afterwards.

21           Q     And after the operation, you gave a speech talking

22     about the operation; and you warned that if the government

23     tried to interfere with people's individual rights, you and

24     your men would be there with your rifles to oppose them;

25     isn't that right?
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1            A     If they were going to use excessive force like in

2      Waco where you had women and children being burned to death,

3      we were not going to let that happen again; that's correct.

4            Q     Well, sir, no one was being burned to death at the

5      Bundy ranch, right?

6            A     But that was our concern.

7            Q     And you did give a speech at the Liberty National

8      Press Club in September 2014 where you talked about how the

9      government would be prepared -- how the Oath Keepers would

10     be prepared to meet government forces rifle to rifle, right?

11           A     I can't recall what I said exactly.

12                 Do you have an audio or --

13                 MS. RAKOCZY:    Let's bring up on the screen

14     Government's Exhibit 9113.

15                 (Video played)

16                 MS. RAKOCZY:    Could we pause.

17     BY MS. RAKOCZY:

18           Q     Sir, do you recognize yourself speaking here?

19           A     Yes.

20           Q     And does it appear that you're speaking at that

21     event at the Liberty National Press Club?

22           A     I think so.

23                 MS. RAKOCZY:    Okay.     Let's continue playing.

24                 (Video played)

25
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1      BY MS. RAKOCZY:

2            Q     Sir, that's how you described the Bundy ranch

3      event afterwards; isn't that right?

4            A     Yes, it is.

5                  MS. RAKOCZY:    At this point in time, Your Honor,

6      the government would move that video, 9113, and the prior

7      video, 9108, into evidence.

8                  MR. BRIGHT:    No objection.

9                  THE COURT:    All right.     Those will be admitted.

10                 MS. RAKOCZY:    Sorry.    That's --

11                 THE COURT:    There is 9108 and 9113.

12                 MS. RAKOCZY:    Thank you, Your Honor.

13                                (Government's Exhibits 9108 and 9113
                                               received into evidence.)
14

15     BY MS. RAKOCZY:

16           Q     Mr. Rhodes, the Oath Keepers also deployed to

17     mining towns out West in the spring and summer of 2015,

18     correct?

19           A     That's correct.

20           Q     And you also sent your men with rifles to those

21     events; is that right?

22           A     In part.

23           Q     And you sent money to fund that operation as well?

24           A     We supplied money for gas and food, yes.

25           Q     Mr. Rhodes you talked on direct about how you
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24    Page 131 of 207

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1      liked to have Oath Keepers who are active-duty law

2      enforcement at your events.

3                  Do you remember testifying to that?

4            A     Active and retired.

5            Q     And that's because those individuals in most

6      places are permitted to carry their firearms openly at

7      events, right?

8            A     That's one of the benefits of like in Berkeley,

9      for example, where no one else could carry, they could still

10     carry; that's correct.

11           Q     And that puts your people with firearms on the

12     front lines, right?

13           A     That puts my people, like in Berkeley, able to

14     protect people who otherwise would have no protection.

15           Q     Well, let's talk about Berkeley.            The Berkeley

16     event was 2017; is that right?

17           A     Yes, the two actually in Berkeley.

18           Q     Okay.      Both in 2017?

19           A     Correct.

20           Q     And at the Berkeley events, you wanted to have

21     armed people there so you could bait the other side into

22     fighting and meet them with firepower; isn't that correct?

23           A     Not at all correct.

24           Q     Okay.

25           A     We focus on deterrence, which is what we do.
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1            Q     Sir, you talked about -- you talked on direct

2      about helping someone named Shelley Luther down in Texas

3      in 2020.

4                  Do you remember talking about that?

5            A     Yes, ma'am.

6            Q     And Ms. Luther is a salon owner who tried to

7      re-open her salon in violation of COVID restrictions that

8      were going on --

9            A     I'm sorry.    I couldn't hear what you said.

10           Q     Ms. Luther was a salon owner who tried to re-open

11     her salon in violation of the COVID --

12           A     Oh, okay.

13           Q     -- restrictions in place at that time.

14           A     She did re-open it.

15           Q     Right.

16           A     Yeah.

17           Q     And then she was told by a court order to cease

18     and desist, correct?

19           A     That's correct.

20           Q     And the Oath Keepers went down there to her aid,

21     correct?

22           A     That's not correct.

23                 We did not protect her salon until the

24     Supreme Court of Texas had reversed the judge's decision,

25     and then she was allowed to open her salon under the
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1      protection of the Supreme Court of Texas.              That's when we

2      protected her salon against arson.

3            Q     And you sent John Shirley down there with other

4      Oath Keepers to show up with armed rifles outside her salon?

5            A     To protect against arson, not to confront Texas

6      government.

7            Q     And Mr. Shirley is a constable with the Texas

8      police force, correct?

9            A     That's correct.

10           Q     So he's another one of those people who could have

11     his guns at the front lines, right?

12           A     Actually in Texas, we were all armed.

13           Q     Okay.

14           A     Didn't make a difference.       But not front lines.

15     If you want to front line standing outside of a salon, okay.

16     But...

17           Q     Now, in D.C. when you do events in D.C., even the

18     active or retired law enforcement officers, they can't come

19     within a thousand feet of protester march events, correct?

20           A     I believe what Don Siekerman said is that he was

21     told that they can't be part of a protest.             It was kind of a

22     gray -- we weren't clear what the law actually required.                   It

23     was unclear.

24           Q     But you still felt that there was a role to be

25     played by these active-duty and former law enforcement
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24     Page 134 of 207

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1      officers, correct?

2            A     Well, John Shirley carried in D.C. because he's a

3      current serving officer.

4            Q     And you spoke about this concept in a message on

5      November 13th to something that was later called

6      "Dead Group Old Op" chat.

7                  Do you remember doing that?

8            A     I don't.

9            Q     Okay.

10                 Do you recall saying to that chat that there's

11     still a role to play for LEOSA-credentialed LOEs?

12           A     I'm sorry, ma'am.      What context of what event?

13           Q     Well, isn't it fair to say that you said to that

14     chat that current and former law enforcement officers "can't

15     be within a thousand feet of the rally march, but they can

16     be in D.C. outside that bubble of extra-grade nonsense"?

17                 Do you remember saying that?

18           A     I don't.      But if that's what I said, okay.

19           Q     And you said, "That has utility."

20                 Correct?

21           A     Sure.      I mean, if we can be armed like we're

22     protecting somebody with them, it's best.               But if you can't

23     be armed with that person because it's a protest, then you

24     still have utility outside of that when you're doing escorts

25     back to hotels, for example.
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1            Q     Bottom line, it's useful to have firepower near

2      your operation, correct?

3            A     I wouldn't characterize it like that.

4            Q     Let's talk a little bit, Mr. Rhodes, about the

5      Oath Keepers' historic attendance at places where there's

6      been civil unrest.      You talked a little about that on

7      direct.    Do you remember talking about Ferguson and

8      Louisville?

9            A     Yes, I do.

10           Q     Okay.

11                 The first time that you sent your group to places

12     where there was such unrest was in Ferguson, Missouri.              In

13     2014, right?

14           A     Yes, I believe that was the first time.

15           Q     And in 2014, protests and violence had broken out

16     after the shooting of Michael Brown, right?

17           A     Well, actually, the first time we were at a

18     protest was in Tucson.      That was the SWAT killing of Marine

19     veteran Jose Guerena.      So that was the first time we were at

20     a protest.

21           Q     Okay.

22                 And then next time was 2014 in Ferguson?

23           A     I believe so.

24           Q     And the violence in Ferguson broke out after

25     Mr. Brown was shot and killed by a police officer, is
     Case 1:22-cr-00015-APM   Document 750    Filed 01/05/24   Page 136 of 207

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1      that right?

2            A     Yes, correct.

3            Q     Now, in Ferguson, the Oath Keepers took positions

4      on top of roofs armed with rifles, correct?

5            A     Correct.

6                  MS. RAKOCZY:    If we could bring up on the screen

7      just for Mr. Rhodes Government's Exhibit 9107.

8      BY MS. RAKOCZY:

9            Q     This is an Oath Keeper named John Karriman, is

10     that right?

11           A     Yes.   That's correct.

12           Q     That's K-a-r-r-i-m-a-n?       Does that sound fair?

13           A     Yes.

14           Q     And he's standing on top of a rooftop in Ferguson

15     in this picture, correct?

16           A     Yes.

17                 MS. RAKOCZY:    At this point in time, Your Honor,

18     the government would seek to move Exhibit 9107

19     into evidence.

20                 MR. BRIGHT:    The Court's indulgence.

21                 No objection, Your Honor.

22                 THE COURT:    All right.     90 -- 9107 is admitted.

23                                             (Government's Exhibit 9107
                                                  received into evidence.)
24

25
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1      BY MS. RAKOCZY:

2            Q     If we could publish to the jury.

3                  Mr. Rhodes, this is an Oath Keeper standing on top

4      of a roof in Ferguson, Missouri, in 2014, right?

5            A     Yes.

6            Q     And he's got two rifles, it looks like?

7            A     He has a rifle slung on his chest.          And he has a

8      less-lethal, loaded shotgun with -- loaded with beanbag

9      rounds behind his back.

10           Q     Okay.

11                 And isn't it true, Mr. Rhodes, that the police

12     asked, ordered, the Oath Keepers to cease and desist what

13     they were doing in Ferguson?

14           A     The sheriff did.

15           Q     Yes.

16                 And that's because you didn't have the right

17     licensing and -- secured licenses in that city, right?

18           A     That was the sheriff's perspective that we could

19     not be on the rooftops as unpaid volunteers, but it was

20     later shown to him that, actually, the law does not require

21     us to be licensed if we're unpaid volunteers.            And they let

22     us back on the rooftops after that.

23           Q     Well, let's talk about this.

24                 You and the Oath Keepers don't have any special

25     training to be security guards, right.
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1            A     Some of us do.

2            Q     You don't have any special licensing to be

3      security guards?

4            A     Some of us do.

5            Q     And you don't have any special insurance that you

6      cover?

7            A     I disagree with that, because some of us do.

8            Q     Tell me message about the insurance that the

9      Oath Keepers has to do security operations.

10           A     Some of our members own --

11           Q     Sir, I was asking about the Oath Keepers

12     organization.

13           A     Oh, did the Oath Keepers buy insurance?           No.

14           Q     Correct.

15                 And the Oath Keepers isn't a security providing

16     company?

17           A     As volunteers, yes.

18           Q     The Oath Keepers are not licensed and bonded to

19     provide security, are you?

20           A     No.

21           Q     Okay.

22                 Now, sir, you did not cease and desist, you did

23     not leave Ferguson despite the sheriff asking you to do so?

24           A     We did, and then I hired two attorneys to

25     challenge his decision.      And then when they were able to
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1      show him that he was incorrect about the law, then he

2      changed his mind and allowed us to back on top of the

3      rooftops.

4            Q     Safe to say, sir, the law enforcement that was

5      actually trying to do their jobs in the city where they

6      worked were not finding what you were doing helpful, right?

7            A     That's not safe to say at all.

8                  The local Ferguson PD loved us and was very happy

9      that we were there, because it took one block off of

10     their --

11           Q     Sir, I'm going to have to ask you to answer my

12     questions.

13           A     Okay.      No problem.     I was trying to.

14           Q     Let's talk about Louisville, Mr. Rhodes.

15                 You deployed the Oath Keepers to Louisville in

16     2020, right?

17           A     Yes, that's correct.

18           Q     Two missions, three missions?

19           A     One national mission, and there was a follow-up

20     that I believe Jessica participated in run by our local guy,

21     Josiah, I believe that's correct.

22           Q     And you deployed the Oath Keepers there to respond

23     to unrest that had broken out after a police-involved

24     shooting and killing of a woman named Breonna Taylor, right?

25           A     That's correct.
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1            Q     And you say that you went there to "protect

2      property from rioters"; is that right?

3            A     And life.

4            Q     And that's the cover that you need when you send

5      your people to places like this, right?

6            A     That's incorrect.

7            Q     Well, you repeatedly warned Oath Keepers

8      affiliates that if they were going to go to places like

9      this, they needed to for a seemingly legitimate reason to

10     go; isn't that fair to say.

11           A     That's not correct at all.

12           Q     I'd like put up on the screen just for Mr. Rhodes

13     Government's Exhibit 9915.      And if we could zoom in on the

14     first message, the entire row.

15                 Mr. Rhodes, we're looking at messages taken from

16     your phone of things you said in a chat called "CO," or

17     Colorado, "Oath Keepers" chat, right.

18           A     Yes, I recognize the chat.

19           Q     And, sir, in August of 2020, you wrote to this

20     chat, "Kevin, when it comes to 'cracking heads,' let me warn

21     you that if you or Tig or anyone else articulate that as

22     your goal when you deploy out, you will leave yourselves

23     very exposed to 'law fare' by hostile Democrat prosecutors

24     and police chiefs who do what leftist politicians tell them

25     to do."
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1                  That's what you said on this chat on August 24th

2      of 2020, correct?

3            A     Yes, and continue on, "That's what got the Proud

4      Boys prosecuted.

5                  "There has to be a legitimate, lawful reason you

6      are there, to protect people or businesses."

7            Q     That has to be a stated legitimate reason, isn't

8      that fair to say, Mr. Rhodes?

9            A     That's nut what I said.

10                 MS. RAKOCZY:      Your Honor, at this point in time,

11     the government would move to admit Government's Exhibit 9115

12     into evidence.

13                 MR. BRIGHT:      No objection.

14                 THE COURT:      All right.     9115 will be admitted.

15                                               (Government's Exhibit 9115
                                                    received into evidence.)
16

17                 MS. RAKOCZY:      If we could bring it up on the

18     screen for the jury now.

19     BY MS. RAKOCZY:

20           Q     Okay.      You also noted, Mr. Rhodes, that being open

21     about wanting to crack heads is what got the Proud Boys

22     prosecuted, correct?

23           A     That's not what I said either.            I can read it for

24     you if you like.

25           Q     I believe it says, "That's what got the Proud Boys
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1      prosecuted," correct?

2            A     I see, where's the word "open" in there.

3            Q     After you say that Kevin and Tig and other people

4      shouldn't refer to cracking heads publicly, that you have to

5      have -- that'll expose you to law fare, you say "that's what

6      got the Proud Boys prosecuted," right?

7            A     If person's goal is to go beat people up, they're

8      going to get in trouble.

9            Q     Okay.      And here you're warning that they should

10     not say that out loud?

11           A     No, I'm warning that they should not have that as

12     their goal.

13           Q     Let's take down.      Let's go to the next message.

14                 Can we zoom in to the next row, please.

15                 And when you go on to say, "Wherever we go out, we

16     always have a clear mission of protecting people who are

17     exercising their free speech and assembly, such as

18     protecting Trump supporters at Trump rallies or protecting

19     the employees of businesses who want our protection from

20     looters and arsonists.

21                 "We always have that mission front and center."

22                 That's what you said in that message, correct?

23           A     That's correct.

24           Q     Okay.

25                 Thank you.      We can take that down.
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1                  And then in the next message, I'm sorry, in 9115,

2      please.

3                  If we could go to the next message, you then

4      continued, "Anyone who publicly announces they are just

5      going to 'confront Antifa/BLM" are setting themselves up to

6      be easily prosecuted after the fact," right?              Is that what

7      you said there?

8            A     Yes, in part.

9            Q     You warned that a prosecutors would have a field

10     day with that, correct?

11           A     "If you people have to use lethal force in

12     self-defense but you don't have a clear mission of defending

13     others and you had a prior statement to confront or crack

14     heads, you just killed your own self-defense claim."                That's

15     correct.

16           Q     Okay.      Thank you.

17                 If we could zoom that out.

18                 And that's fine.        We can take that exhibit down.

19     Thank you.

20                 Let's go back to Louisville, Mr. Rhodes.

21                 You watched the video that I think Mr. Crisp

22     showed to Montana Siniff about your group's participation in

23     Louisville, right?

24           A     Yes.

25           Q     If we could bring up on the screen now
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1      Government's Exhibit 9110 just for the witness.

2                  If we could just begin playing a little bit.

3                  (Video played)

4                  MS. RAKOCZY:    And if we could pause.

5      BY MS. RAKOCZY:

6            Q     Mr. Rhodes, did you recognize this as the video

7      that shows the Oath Keepers in that parking lot in

8      Louisville?

9            A     Yes.

10                 MS. RAKOCZY:    At this point in time, the

11     government would seek to admit 9110 into evidence.

12                 MR. BRIGHT:    No objection.

13                                            (Government's Exhibit 9110
                                                 received into evidence.)
14

15     BY MS. RAKOCZY:

16           Q     If we could play from about 30 seconds in to about

17     57 seconds in.

18                 (Video played)

19     BY MS. RAKOCZY:

20           Q     Sir, the person here on the left of the screen who

21     I've just drawn an arrow to, that is you, correct?

22           A     Yes, it's a very unflattering profile, though.

23     Sad to say.

24           Q     We all have our good look days and bad days right.

25                 The person who I've put an arrow who's then two
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1      over to the right from you, standing in the doorframe, the

2      passenger door frame of the red truck --

3            A     Yes.

4            Q     -- is that Doug Smith?

5            A     It is.

6            Q     And Doug Smith is and was at the time the

7      North Carolina chapter leader for the Oath Keepers, correct?

8            A     He was at the time.

9            Q     Okay.

10                 And the person standing to our right of Mr. Smith,

11     who's that?

12           A     That's Mr. Michael Greene.       That's Whip.

13           Q     Okay.

14                 So the three of you were all in Louisville for

15     this event, correct?

16           A     Correct.

17           Q     If we could keep playing through to 1 minute,

18     37 seconds, please.

19                 (Video played)

20     BY MS. RAKOCZY:

21           Q     And, sir, we see here at 1 minute, 37 seconds the

22     person wearing camouflage on the right, that's

23     Defendant Watkins, correct?

24           A     Correct.

25           Q     And then to the left of her on the screen, that's
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1      Montana Siniff, correct?

2            A     It is.

3            Q     Now, at this point in time it appears that you all

4      are just standing around protecting your own vehicles; fair

5      to say?

6            A     That's not correct.

7            Q     You're getting your gear on in the parking lot,

8      right?

9            A     We're getting our gear on to protect the gas

10     station across the street.

11           Q     Okay.

12                 But at this point in time, y'all seem a little

13     concerned about your own vehicles, right?

14           A     No.

15           Q     Well, Mr. Linder asked you on direct that about a

16     how you were being brutally accosted by this crowd.             That

17     doesn't really seem to be what's going on, does it?

18           A     I'm sorry, ma'am, I couldn't understand your

19     question.

20           Q     Mr. Linder asked you on direct, he said, he

21     discussed the crowd that was brutally accosting you in this

22     parking lot.

23                 MR. LINDER:    Your Honor, that's incorrect.          I said

24     verbally accosting, not brutally.

25
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1      BY MS. RAKOCZY:

2            Q     Do you believe you were being verbally accosted

3      here?

4            A     Yes, definitely.    They're saying, F you, and F

5      you, especially F you, pointing right at me, yeah.

6            Q     Y'all got your guns out?

7            A     No, I did not have a gun out.

8            Q     I know you didn't, but there's many others of your

9      team to observe holding their rifles?

10           A     Sure, they're getting ready to go across the

11     street and they're getting ready.

12           Q     Sir, there are many of you who are holding your

13     rifles, correct?

14           A     Correct.

15           Q     If we can go now to 3 minutes, 35 seconds, please,

16     and play through 4 minutes, 10 seconds.

17                 (Video played)

18     BY MS. RAKOCZY:

19           Q     Sir, the person here on the left edge of the

20     screen, that's defendant Kelly Meggs, correct?

21           A     Correct.

22           Q     And this person right here who has short-sleeved

23     shirt on and kind of reddish hair with a flag skeleton type

24     mask, that's Holden Haney, right?

25           A     Correct.
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1            Q     He's an Oath Keeper out of Illinois, correct?

2            A     Yes.

3            Q     Now, Mr. Haney is holding a gun, correct?

4            A     Yes.

5            Q     Mr. Meggs has in his vest, what's that in his vest

6      there?

7            A     That's a magazine pouch with two AR magazines.

8            Q     What we see are Oath Keepers wearing here, this

9      very similar to the way you get kitted up for most of your

10     operations, correct?

11           A     When we're going armed, correct.

12                 Depends on the profile.

13           Q     Well, you go armed just about every time you can,

14     right?

15           A     Yes, that's correct.

16           Q     Wouldn't you agree that you and your fellow

17     Oath Keepers here are doing more to inflame the situation

18     here in Louisville than help?

19           A     No.

20                 MR. WOODWARD:    Objection, Your Honor.

21                 THE COURT:    Overruled.

22                 MR. WOODWARD:    Can we get on the phone?

23                 THE COURT:    No.

24                 THE WITNESS:    No, I do not agree with that.

25
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1      BY MS. RAKOCZY:

2            Q     The person who's narrating the video says as much,

3      right?

4                  THE COURT:    No.   That's sustained.        Go ahead.

5      BY MS. RAKOCZY:

6            Q     Sir, do you hear someone on this video implore

7      your people to just leave?

8                  MR. WOODWARD:    Objection.

9                  THE COURT:    It's overruled.

10                 THE WITNESS:    Yes, I heard that.         But as I

11     explained earlier, he did not listen --

12     BY MS. RAKOCZY:

13           Q     Thank you, sir.     I think you've answered my

14     question.

15           A     That's okay.

16           Q     Sir, law enforcement have expressed exasperation

17     with your group coming into these places that you're not

18     from and trying to "help," right?

19           A     Only in Ferguson that I can recall.

20           Q     Well, sir, in 2018, a group of Oath Keepers was

21     arrested in Florida for driving around in a fake police car

22     trying to "help" after hours, after a curfew had been

23     imposed, after Hurricane Michael, right?

24           A     They were not Oath Keepers.        They were volunteers,

25     though, for us.
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                                                                                7297

1             Q    So volunteers with Oath Keepers who were wearing

2      Oath Keepers gear were arrested driving around in something

3      that had been dressed up to look like a police car in a

4      hurricane situation, right?

5             A    There was a security company owner and his staff

6      who volunteered, and that's who that was; that's correct.

7             Q    And they had Oath Keepers gear, correct?

8             A    I can't recall if they had Oath Keepers gear or

9      not.

10            Q    And they were dressed up to look like the police,

11     right?

12            A    No.   They were dressed to look like security

13     personnel, but the police officers thought that they were

14     trying to impersonate police.

15            Q    And the Dade County Sheriff's Office told the

16     Panama City News-Herald after the fact, "They're out there

17     patrolling the streets.      They don't know the area.         They

18     don't know the community.      They don't know our laws.          And

19     that just lends itself to dangers."

20                 Isn't that right?

21            A    I was not aware of that.

22            Q    Let's talk about the gear that you and your fellow

23     Oath Keepers bring to events like this.          You said on direct

24     that you always tell people to wear a helmet, correct?

25            A    I tell them to -- I advise they bring one.            Like,
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                                                                                7298

1      I bring one.    But I hardly ever put it on, because I don't

2      like wearing helmets.      But I tell them to bring it in case

3      you start getting rocks and bottles and things thrown

4      at you.

5            Q     Well, you don't only wear and bring a helmet for

6      protection, but you bring it to use offensively as

7      well, right?

8            A     I carried one when I was protecting the

9      Multnomah County GOP chair.       And if someone has thrown a bat

10     at me, then, yes, I would have used it to defend myself.

11           Q     You also would have used it offensively, correct?

12           A     Not offensively.    It's defensively only.

13                 MS. RAKOCZY:    Let's bring up on the screen what's

14     already in evidence, and so publish to the jury Government's

15     Exhibit 1000.10, slide 2.

16                 Let's play this clip, please.

17                 (Audio played)

18     BY MS. RAKOCZY:

19           Q     Sir, this is the advice that you were giving to

20     the Oath Keepers in advance of the November 14th

21     Million MAGA March, correct?

22           A     I was talking to them about how they could use

23     like C-cell flashlights and other things that are legal to

24     carry if they needed to as a defensive tool, correct.

25           Q     Correct.
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 152 of 207

                                                                                7299

1                  Batons, also, right?

2            A     Like I said, I chose not to bring my baton because

3      I was not clear on being legal.        I brought the C-cell

4      flashlight instead.

5                  With martial arts training, I can use

6      almost anything.

7            Q     Well, you said on the "D.C. Op Jan. 6" chat that

8      you were aware that that wasn't always legal, but you would

9      choose to bring that anyway sometimes, right?

10           A     I said -- I can't recall.       If you have it, bring

11     it back up and read it again.

12                 What I think I meant, what I said was it's a gray

13     area, but I love them.      But I chose not to because I didn't

14     want to -- I wanted to err on the side of caution.

15           Q     Mr. Rhodes, you even encouraged your followers to

16     dress up like old people or single parents to try to bait

17     Antifa into fighting them, right?

18           A     That's not correct.

19           Q     And you armed Oath Keepers with steel canes and

20     walking sticks to use in the event they were able to get

21     Antifa to attack them, correct?

22           A     Not to bait them.     To defend themselves.

23                 MS. RAKOCZY:    And in November of 20 -- let's bring

24     up on the screen for Mr. Rhodes Government's Exhibit 9106.

25                 And, Your Honor, this is a receipt that the
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 153 of 207

                                                                                7300

1      government will move into evidence pursuant to a business

2      record certification.

3                  MR. BRIGHT:    No objection.

4                  THE COURT:    9106 is admitted.

5                                             (Government's Exhibit 9106
                                                 received into evidence.)
6

7                  MS. RAKOCZY:    Could we go to page 3 of the

8      exhibit, please if you could zoom in on the top section.

9      BY MS. RAKOCZY:

10           Q     This is from a store called Smoky Mountain Knife

11     Works; is that right?

12           A     Yes, that's correct.

13           Q     And you visited the Smoky Mountain Knife Works and

14     made a purchase there in November of 2020; is that right?

15           A     That's correct.

16           Q     If we could go down to, actually, the bottom of

17     the receipt for a second.      I apologize.

18                 If we could go to the next page, can we see at the

19     top, if we zoom in on the top, this purchase was made

20     November 19th of 2020, correct?

21           A     Yes.

22           Q     That's five days after the Million MAGA event,

23     right?

24           A     That's right.

25           Q     And a few days after before the event that you
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 154 of 207

                                                                                7301

1      went to in Atlanta, right?

2             A    Correct.

3             Q    And you made this purchase using the Oath Keepers

4      credit card, right?

5             A    Yes, that's right.

6             Q    If we could zoom out, please, and go back now to

7      page 3 of the exhibit and zoom in across the top.

8                  You purchased at that time, you punched three

9      Cold Steel heavy-duty canes; is that right?

10            A    That's right.

11            Q    And you purchased five Cold Steel pistol-grip city

12     sticks; is that correct?

13            A    I don't see -- okay, yes, that's correct.

14            Q    Okay.

15                 MS. RAKOCZY:    If we could bring that down.

16                 Could be bring up on the screen, please,

17     Government's Exhibit 9106.1 just for the witness.

18                 And if we could zoom in on the description.

19     BY MS. RAKOCZY:

20            Q    This is from the Cold Steel website; is that

21     right, Mr. Rhodes?

22            A    Yes.

23            Q    And this shows that those Cold Steel city walking

24     sticks basically look like a fancy cane, is that fair to

25     say?
     Case 1:22-cr-00015-APM    Document 750    Filed 01/05/24   Page 155 of 207

                                                                                  7302

1            A     That's correct.

2            Q     And the description of these items is that these

3      classy walking sticks are just as at home at the opera as

4      they are on a scroll through the urban jungle, right?

5            A     Yes.

6            Q     Okay.      If we could take that down.

7                  And these are the items you purchased at that

8      store, correct?

9            A     Yes, ma'am.

10           Q     You purchased five of them?

11           A     Yes, I did.

12                 MS. RAKOCZY:      The government would seek to move

13     Government's Exhibit 9106.1 into evidence.

14                 MR. BRIGHT:      No objection.

15                 THE COURT:      It will be admitted plaintiff.

16                                            (Government's Exhibit 9106.1
                                                   received into evidence.)
17

18                 MS. RAKOCZY:      If we could publish for the jury

19     9106.1, please.

20     BY MS. RAKOCZY:

21           Q     That's what these pistol-grip city sticks look

22     like, right?

23           A     Yes.

24           Q     And you told John Zimmerman and the other

25     Oath Keepers gathered at Tom Caldwell's place that you
     Case 1:22-cr-00015-APM   Document 750    Filed 01/05/24   Page 156 of 207

                                                                                 7303

1      wanted them to bait Antifa and others into fighting you by

2      dressing up like old people carrying sticks like this,

3      right?

4            A     That's not correct.

5            Q     It's a very specific thing for Mr. Zimmerman to

6      say that's not true, isn't it?

7            A     He misunderstood what I was trying to explain to

8      them.

9            Q     You also told Joshua James that that was your

10     intent, correct?

11           A     That's not correct.

12           Q     Sir, on direct, you claimed, "I don't know of any

13     security event where any Oath Keeper ever had to use force

14     or ever pointed their weapon at anyone," correct?

15           A     That's correct, except for the time when they

16     stopped a lady from being abducted.

17           Q     Right.

18                 Also, in Louisville, someone in your group pointed

19     at a weapon at people, right?

20           A     I don't recall that.

21                 MS. RAKOCZY:    Okay.     Could we bring up on the

22     screen now Government's Exhibit 9102.

23                 And let's zoom in on the participant section here

24     on the first page.

25
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 157 of 207

                                                                                7304

1      BY MS. RAKOCZY:

2            Q     Sir, this appears to be a chat between yourself,

3      the owner of this device, and Randy Earp, correct?

4            A     I'm not sure what device this is.

5            Q     Okay.

6                  This is a Cellebrite report, right?          It says

7      across the top right corner --

8            A     Yeah.

9            Q     Understanding that you may not know right now

10     where this is, let's look at -- you know someone named

11     Randy Earp; is that right?

12           A     That's correct.    Special Forces, retired.

13           Q     And Mr. Earp is a North Carolina Oath Keeper,

14     right?

15           A     Correct.

16           Q     And Mr. Earp's group deployed to Louisville,

17     right?

18           A     Correct.

19           Q     Mr. Doug Smith was there, correct?

20           A     Yes.

21           Q     Was Randy Earp also there?

22           A     He was.

23           Q     And you exchanged numerous messages in your phone

24     with Mr. Randy Earp?

25           A     I exchanged a lot with a lot of people, but I'll
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 158 of 207

                                                                                7305

1      take your word for it.

2            Q     Okay.

3                  If we could now go to page 2 -- I'm sorry, page 3.

4                  And could we zoom in on the second green box,

5      please.

6                  What we appear to have here is a chat between you

7      and Mr. Earp, correct?

8            A     Looks that way.

9            Q     And, actually, if we could take this one down for

10     one second, please, and go to the blue box just above it.

11                 So this is a message from September 26th of 2020,

12     right?

13           A     Yes, correct.

14           Q     That's after one of your Louisville ops, right?

15           A     Yes.

16           Q     Okay.

17                 And Mr. Earp here in this message is basically

18     asking you how things went in Louisville, correct?

19           A     If you don't mind, let me read it for a second.

20           Q     Sure.

21           A     No, he's talking about going to another

22     Oath Keepers meeting at Doug's place.          He didn't want me to

23     tell them, going to just chat, talking radio frequencies

24     here.

25                 MS. RAKOCZY:    If we could take that down.         Could
     Case 1:22-cr-00015-APM    Document 750     Filed 01/05/24   Page 159 of 207

                                                                                   7306

1      we go up to the page before this.

2                  Let's -- at this point in time actually,

3      Your Honor, the government would move Exhibit 9102 into

4      evidence?

5                  MR. BRIGHT:      The Court's indulgence, Your Honor.

6                  No objection.

7                  THE COURT:      9102 is admitted.

8                                                (Government's Exhibit 9102
                                                    received into evidence.)
9

10                 MS. RAKOCZY:      Thank you, Your Honor.

11                 If we could publish to the jury, please, we're

12     looking at now page 2 of the exhibit.             Could we zoom in on

13     the bottom two bubbles, please.

14     BY MS. RAKOCZY:

15           Q     So on September 26th of 2020 at about 7:13 a.m.

16     Eastern Time, Mr. Earp says to you, "Still on way home.

17     Hated to leave.        That was tough.     I hope you were satisfied

18     with my performance.        I try not to oversell myself so

19     I didn't disappoint you.        Things looked good with team

20     identification versus actual names and locations.                That

21     messed them up.        Throw another curve or change up to then

22     tonight."

23                 That's what Mr. Earp said, right?

24           A     Yes.

25           Q     And then Mr. Earp asked, "Did Doug do well with
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 160 of 207

                                                                                7307

1      you," right?

2            A     Correct.

3            Q     Because for the Louisville op you and Mr. Smith

4      were riding around in one of the QRF vehicles?

5            A     That's correct.

6            Q     Correct?

7                  If we could go to the next page, please.

8                  The top of the next page, the blue bubble,

9      Mr. Earp says, "I talked to Steve about how it was.             We

10     needed to capture strengths, weaknesses and ideas in a

11     lessons learned book.      Even get the KMRs to submit ideas and

12     review/critique."

13                 That's what Mr. Earp said in the next message,

14     right?

15           A     Yes.

16           Q     If we could take that down.

17                 You then respond in the next green bubble, "Very

18     satisfied."

19                 Are you referring to his -- what are you referring

20     to there?

21           A     Yeah, I think I was referring to Doug on the

22     mission.

23           Q     And you said, "Actually we should have used your

24     experience more in planning and establishing SOPs for op."

25           A     That's correct, he's retired Special Forces.
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24   Page 161 of 207

                                                                                 7308

1            Q     And SOPs are standard operating procedures or

2      protocols?

3            A     Pardon?

4            Q     What does SOP stand for?

5            A     Yeah, standard operating procedure, that's

6      correct.

7            Q     You said, "I was trying not to micromanage Whip.

8      In the future we need to tighten up and have a real

9      op order."

10           A     That's correct.

11           Q     You're talking about going to protests here,

12     right?

13           A     I'm talking about security missions.

14           Q     Okay.

15           A     Around protests.

16           Q     Okay.      If we could zoom on in this next blue

17     bubble for Mr. Earp, please.

18                 Mr. Earp says, "Absolutely.         My mind has been

19     burning all night with thoughts.         I stopped at many rest

20     areas and rested in stretches and tried to nap, just going

21     through Columbus County, (half an hour from my house) and

22     stopped around our meeting at Doug's place.             Anything you

23     want to tell them?        I was just going to chat and they are

24     talking radio frequencies here."

25                 That's what Mr. Earp said next, right?
     Case 1:22-cr-00015-APM    Document 750     Filed 01/05/24   Page 162 of 207

                                                                                   7309

1            A     Yes.

2            Q     If we could take that down.

3                  So now in the next green bubble, you proceed to

4      tell Mr. Earp about how Doug did with you, correct?

5            A     Hold on.     Let me read it real quick.

6            Q     Well, let's read it together.           You said, "Doug did

7      very well on QRF last night.           I had him roll with me as D1.

8      Local driver, Chris, me in the passenger's seat, and Doug

9      and Bill in the back."

10                 Is that right?

11           A     That is correct.

12           Q     Okay.      And so who's Chris?

13           A     Chris was the local Louisville driver.

14           Q     Okay.

15           A     Yeah.

16           Q     And you were in the passenger seat of the QRF

17     vehicle, correct?

18           A     Correct.

19           Q     And Doug is Doug Smith, right?

20           A     Yes.

21           Q     And he and someone named Bill were in the back,

22     right?

23           A     That's right.

24           Q     All right.     You said, "All good till the end of

25     the night.    Then we had a situation where the KMR, Kentucky
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 163 of 207

                                                                                7310

1      Mountain Rangers, had a black male following them.             Their

2      leader Roudy called me and told me."

3                  That's what you said, right?

4            A     That's right.

5            Q     You said, "I told him 'drive in a box and keep him

6      busy till Whip can come to you,' but it was too late.              They

7      had let this guy follow them almost all the way to our

8      parking area."

9            A     That's correct.

10           Q     That's what you said, right?

11           A     Right.

12           Q     And you said, "I told him to go to the riverside

13     park, turn around, and put your headlights on the guy and

14     wait for Whip," right?

15           A     Yes, ma'am.    Now, I'm remembering this incident,

16     you're right.

17           Q     If we could take that down.

18                 Let's go to the next message.

19                 You said, "So Whip and Todd go there and we

20     follow.    KMR guys were all out of their vehicles in a mob.

21     Whip and Todd went to either side of the vehicle and talked

22     to the driver.     Driver was drunk and filming on live

23     stream," correct?

24           A     That's correct.

25           Q     If we take that down.
     Case 1:22-cr-00015-APM   Document 750     Filed 01/05/24   Page 164 of 207

                                                                                  7311

1                  If we could go to the next page and zoom in on the

2      next message.      You continued, "Whip and Todd were able to

3      talk him down and handle it.          We told the rest go back to

4      our parking area.      Guy was just an idiot who decided to

5      follow the 'militia guys' and film it."

6             A    That's right.

7             Q    If we could take that down and go to next message.

8                  You said, "Doug did point his AR at the guy in the

9      car.   Todd pushed Doug's muzzle down and told him don't do

10     that, but then he did it again, and I told Doug, don't point

11     your weapon at him.      Doug walked back to the truck."

12                 That's what you said, right?

13            A    That's correct.

14            Q    You said, "I think Doug's not happy about us

15     telling him not to do that," right?

16            A    Yes, I said, "But he needs to let our cops handle

17     situations like that.      Whip and Todd are both cops.           Let

18     cops handle what is essentially similar to a traffic

19     stop/interview."

20            Q    So let's be clear, Mr. Rhodes.           Whip and Todd were

21     not actually cops at that time, right?

22            A    They were former law enforcement.

23            Q    But Whip was a security guard or a security

24     contractor at that time?

25            A    Yes.
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 165 of 207

                                                                                7312

1            Q     And Todd was a firefighter at the time?

2            A     That's correct.

3            Q     And so no one in your vehicle had any authority to

4      be doing traffic stops, right?

5            A     I didn't say to do a traffic stop.          Handle what is

6      essentially similar to a traffic slop/interview.

7            Q     Right.     And you pulled over a drunk black male

8      because you didn't like him --

9            A     Did not pull him over.

10           Q     -- following you, right?

11           A     Did not pull him over.

12           Q     You walked to up his truck on both sides and

13     talked to him as though it was a traffic stop, right?

14           A     He pulled in and was filming our guys and we

15     didn't know who he was or why he was there, and so I had

16     Whip and Todd go talk to him, that's correct.

17                 And Doug -- and, my mistake, Doug did point his

18     weapon at him and I'd forgotten all about that.            My

19     apologies.

20           Q     So what you said on direct was not true, correct?

21           A     I had not forgotten about that incident.

22           Q     Doug pointed his rifle not once but twice at the

23     people in the car?

24           A     He did.

25           Q     You still said Doug did "well: during the event?
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24   Page 166 of 207

                                                                                 7313

1            A     Other than that, right.

2            Q     Okay.      Let's take that down.

3            A     Yeah, Doug kind of lapsed back into being in Iraq

4      and that was not good.

5            Q     And so despite Doug's performance that day, you

6      continued to have him be the leader of the North Carolina

7      Oath Keepers, correct?

8            A     I do my best to rehabilitate guys because I don't

9      want them to feel like they're not needed.

10           Q     Even more than that, after the election, three

11     days after the election, you went down to North Carolina to

12     meet with Mr. Smith and the other Oath Keepers leaders,

13     correct?

14           A     That's correct.

15           Q     And then from North Carolina -- well, in

16     North Carolina, you purchased a rifle, correct?

17           A     Yes, I did.

18           Q     And then from North Carolina, you and Mr. Smith

19     and at least one other North Carolina Oath Keeper drove up

20     to Washington, D.C., right?

21           A     Yes, we did.

22           Q     And if we could bring up on screen what's already

23     in evidence as Government's Exhibit 6615.B.             This is a

24     message that you sent to the "Friends of Stone" chat on

25     January 7th of 2020, right?
     Case 1:22-cr-00015-APM    Document 750   Filed 01/05/24     Page 167 of 207

                                                                                   7314

1            A      Yes, this is on -- hold on a second.

2            Q      Okay.     Sorry, November 7th of 2020.

3            A      Yes.    This is an advance of the

4      Million MAGA March.

5            Q      A week in advance, right?

6            A      That's correct.

7            Q      Three days after the -- four days after the

8      election, correct?

9            A      That's correct.

10           Q      And this is the afternoon when the election was

11     ultimately called by media outlets for President Biden,

12     right?

13           A      I can't recall when that happened.

14           Q      And you said, "What's the plan?            We need to roll

15     ASAP.     I'm on my way to D.C. right now with my Oath Keepers

16     tactical leaders for a possible D.C. Op, to do a leaders

17     recon and make plans.        I'm available to meet face to face."

18                  That's what you said on November 7th, right?

19           A      That's correct, to event organizers.

20           Q      And including Roger Stone, right?

21           A      Ali Alexander, a whole bunch of people.

22           Q      So Roger Stone is on the Friends of chat -- Stone

23     chat?

24           A      Of course, it was a Friends of Stone chat.

25           Q      And his associates are on the chat, right?
     Case 1:22-cr-00015-APM   Document 750   Filed 01/05/24   Page 168 of 207

                                                                                7315

1            A     Yes, sir.

2            Q     Ali Alexander was on this chat, right?

3            A     Yes, sir.

4            Q     And Enrique Tarrio, the leader of the Proud Boys

5      was on this chat?

6            A     I don't know if he was on that chat at that time.

7            Q     And when you were on your way to D.C. in this

8      message, you say you were with your tactical leaders,

9      correct?

10           A     That's correct.

11           Q     And you're doing a leaders recon, right?

12           A     Yes.

13           Q     And Doug Smith is with you, right?

14           A     Yes, he is.

15           Q     Okay?

16                 MS. RAKOCZY:    Thank you.     We can take town.

17                 THE COURT:    Ms. Rakoczy, why don't we pause there

18     if it's all right?

19                 MS. RAKOCZY:    Yes, Your Honor.

20                 THE COURT:    We'll take our lunch break now.

21     It's 12:45.    We'll resume at 1:50.       Enjoy your lunch breaks.

22     We'll see you all soon.

23                 COURTROOM DEPUTY:     All rise.

24                 (Jury exited the courtroom.)

25                 THE COURT:    Please be seated, everyone.
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1                  Anything we need to take up before we break?

2                  Mr. Rhodes, you can step down.

3                  MS. RAKOCZY:    We can take up at any time, Your

4      Honor, the prior disclosures that had been made about the

5      Portland event or we can do that after the lunch break,

6      whatever the Court would prefer.

7                  THE COURT:    Why don't we go ahead and take care of

8      that not.    Is that something we need to clear the

9      courtroom for?

10                 MS. RAKOCZY:    No, Your Honor.

11                 THE COURT:    Oh, all right.

12                 MS. RAKOCZY:    I think it's fine.

13                 We can just say that the defense did have an

14     opportunity to review the report in which this information

15     was discussed, and so -- and it was described --

16                 THE COURT:    This was something I ordered

17     disclosed, right?

18                 MS. RAKOCZY:    Yes, Your Honor.

19                 THE COURT:    Right.      Okay.   That's why it sounds

20     familiar.

21                 MS. RAKOCZY:    For the record, their report was to

22     referred as A-21, and it was in advance of the event.                And

23     the information is -- we can provide a copy to the Court and

24     counsel.    But the information essentially was that there

25     were hopes of baiting Antifa sort of across the border to
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1      Vancouver.

2                  So I think there's maybe a little bit more

3      information in the report than we disclosed on Friday.              But

4      I think the general thrust of it was previously disclosed.

5      That was made on September 13th of 2020 -- 2022, that

6      disclosure.

7                  THE COURT:    Mr. Rhodes, by the way, you can step

8      down, sir.

9                  THE WITNESS:    Okay.

10                 THE COURT:    Okay.   Mr. Woodward, in view of that,

11     any issue then with the use of that.         I don't know whether

12     the government intends to do so or not.

13                 MR. WOODWARD:    I'll take Ms. Rakoczy at her word.

14     We don't have copies of what she's referring to.             It was

15     disclosed to us only, I believe, in the courtroom.

16     I don't recall reading that, but --

17                 MR. BRIGHT:    Is this the --

18                 MS. RAKOCZY:    This is the report A-21.         And I can

19     print a copy for counsel at lunch and for the Court.

20                 THE COURT:    I mean, again, I've been on my

21     addle-brain.    I remember reading something about that in

22     something I reviewed.      So I suspect some of you did as well.

23                 All right.    Anything else, folks?

24                 MR. WOODWARD:    Yeah.    Mr. Bright and I have been

25     in discussions about reverse Jencks, and he's asked for my
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1      opinion about whether -- materials of reverse Jencks.

2      I think it may be just prudent if Mr. Bright just shared

3      with you his notes on a witness that's expected.

4                  MR. BRIGHT:    Your Honor, I'm trying to be in

5      conformity with the rules on this.         It is apparent me to,

6      obviously, different divisions, jurisdictions handle things

7      slightly differently, in different ways.

8                  I've interviewed an enormous number of witnesses

9      here.   A lot of them I don't typically take notes on.             I

10     just do it by memory.      I've got two witnesses coming up that

11     I'm going to be really direct on.        They're smaller in terms

12     of their scope than others.

13                 And so I've already conferred with the government.

14     They don't have any materials to turn over on those;

15     however, I do have some materials that I did take notes on,

16     specifically regarding a witness that could be coming up

17     tomorrow.    I want to be in conformity with the rules and

18     make sure.

19                 I did discuss with Mr. Woodward, due to his much

20     more-extensive practice in this jurisdiction than mine, and

21     his suggestion was that I turn my notes over to you to make

22     a determination as to what would or wouldn't be proper in

23     the scope of what I need to turn over out of these.

24                 THE COURT:    Okay.   I'm happy to take a look at it.

25                 I guess, why don't I take a look, and then I may
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1      have some questions because I obviously don't know who the

2      witness is are or what the person may be testifying to.

3                  MR. BRIGHT:    The witness is specifically

4      Greg McWhirter, Your Honor.       He's the gentleman that's been

5      referenced as the Vice President of the Oath Keepers and on

6      the Board of Directors since 2014.         I have six pages of

7      handwritten notes.      I interviewed him Saturday by Zoom when

8      I was in Texas.

9                  THE COURT:    This past Saturday?

10                 MR. BRIGHT:    I'm sorry?

11                 THE COURT:    This past Saturday?

12                 MR. BRIGHT:    Just two days ago.

13                 THE COURT:    Two days ago.     Okay.

14                 MR. BRIGHT:    Yes, Your Honor.      So I had not -- I

15     interviewed him previously, once before that, where I did

16     not take any notes, it was more of a meet-and-greet, "hi,

17     how are you?" session.

18                 THE COURT:    Okay.

19                 MR. BRIGHT:    And then -- but I did have this.          So

20     out of an abundance of caution, it has been suggested that I

21     do it in this format, sir.

22                 THE COURT:    Okay.   I appreciate it.       I'll take a

23     look at it.

24                 MR. BRIGHT:    May I approach?

25                 THE COURT:    Yes.    Thank you.    I appreciate the
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1      disclosure.    I'll take a look at it over lunch and see you

2      all very soon.

3                  Thank you, everybody.

4                  COURTROOM DEPUTY:     All rise.

5                  (Recess from 12:51 p.m. to 2:00 p.m.)

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                         C E R T I F I C A T E
                    I, William P. Zaremba, RMR, CRR, certify that
  the foregoing is a correct transcript from the record of
  proceedings in the above-titled matter.




  Date:__November 7, 2022_____ ____________________________
                                        William P. Zaremba, RMR, CRR
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